     Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 1 of 82
          In the United States Court of Federal Claims
                                Nos. 06-517C & 06-523C
                               (Filed November 17, 2006)


***********************                      *
                                             *
TEXTRON, INC.,                               *   Post-award bid protest; 28
                                             *   U.S.C. § 1491(b)(1) (2000);
                  Plaintiff,                 *   judgment on the administrative
                                             *   record; reasonableness of agency
          v.                                 *   action; injunctive relief; best
                                             *   value procurement; standing;
THE UNITED STATES,                           *   prejudice; prejudice on the
                                             *   merits.
                  Defendant,                 *
                                             *
           and                               *
                                             *
MANITOWOC MARINE                             *
GROUP/MARINETTE MARINE                       *
CORPORATION,                                 *
                                             *
                Intervenor-Defendant.        *
                                             *
__________________________________           *
                                             *
OCEAN TECHNICAL SERVICES,                    *
INC.,                                        *
                                             *
                  Plaintiff,                 *
                                             *
           v.                                *
                                             *
THE UNITED STATES,                           *
                                             *
                  Defendant,                 *
                                             *
           and                               *
                                             *
MANITOWOC MARINE                             *
GROUP/MARINETTE MARINE                       *
CORPORATION,                                 *
                                             *
                Intervenor-Defendant.        *
                                             *
***********************                      *
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 2 of 82



      Frederick M. Levy, Washington, DC, for plaintiff Textron, Inc. Jason A. Carey and
Matthew T. Crosby, McKenna Long & Aldridge LLP, of counsel.

       Marcus B. Slater, Jr., Washington, DC, for plaintiff Ocean Technical Services, Inc.
Jennifer J. Zeien, Slater & Zeien, L.L.P.; Henry W. Kinney and Michael L. DeShazo, Kinney
& Ellinghausen, of counsel.

       Thomas D. Dinackus, Washington, DC, with whom was Assistant Attorney General
Peter D. Keisler, for defendant. Sean McNamara, Department of Justice; Isaac Johnson and
John Ralston, United States Coast Guard, of counsel.

      Richard J. Conway, Washington, DC, for intervenor Manitowoc Marine
Group/Marinette Marine Corp. Michael J. Slattery and Austin Fulk, Dickstein Shapiro, LLP,
of counsel.

MILLER, Judge.

                                        OPINION 1/

       This post-award bid protest action filed by plaintiffs Textron, Inc. (“Textron”), and
Ocean Technical Services, Inc. (“O-Tech”), is before the court subsequent to argument on
cross-motions for judgment on the administrative record. Textron and O-Tech (collectively
“plaintiffs”) seek to enjoin permanently the performance of the contract awarded to
intervenor-defendant Marinette Marine Corporation (“Marinette”) by the United States Coast
Guard (the “USCG”) under Solicitation No. HSCG23-05-R-ARB001 (the “Phase II
Solicitation”) for the design and construction of the Response Boat-Medium (the “RB-M”).
This is a major multi-year procurement for the USCG. The RB-M fleet is one part of the
USCG’s on-going effort to modernize and standardize its fleet.

        Assuming that injunctive relief is not granted, but that the procurement is found to be
defective, plaintiffs seek costs accrued in preparing their bids and proposals from the
procurement process. Plaintiffs also demand reimbursement for attorneys’ fees and the cost
of litigating these actions.




       1/ This opinion was issued under seal on November 8, 2006. The parties were given
the opportunity to notify the court by November 15, 2006, to identify protected/privileged
material subject to deletion before publication. Redactions are denoted by brackets.

                                              2
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 3 of 82



       The parties developed their schedule for briefing, and the court resolved the objections
to extending it. See Order entered July 18, 2006, ¶ 4-10. Oral argument on the motions was
held on October 18, 2006. Although the court had promised to enter a ruling four days after
oral argument, see Order entered July 18, 2006, ¶ 9, the most recent request for extension
pushed that date into a period during which the court was conducting a two-week trial out
of the District of Columbia. See Order entered Sept. 19, 2006, ¶ 1 (granting, in part,
defendant’s motion for enlargement of time to file cross-motion and opposition). Therefore,
the court advised the parties during oral argument that the earliest date for decision was this
date.

                        FACTS AND PROCEDURAL HISTORY

       The undisputed factual backdrop to this opinion involves a four-year procurement
process conducted in two phases (“Phase I” and “Phase II”). On August 10, 2002, the USCG
issued Solicitation No. HSCG23-02-R-ARB048 (the “Phase I Solicitation”) for the design
and production of a RB-M test boat, a versatile boat capable of performing various USCG
missions, including search and rescue, enforcement of laws and treaties, and defense
operations. Following an evaluation of the Phase I proposals, the USCG, on May 2, 2003,
awarded contracts to Textron, O-Tech, and Marinette to participate in Phase II. AR
00701. 2/

       Textron, a Delaware corporation, controls Textron Marine & Land Systems, the New
Orleans-based division of Textron, that prepared and submitted the proposals at issue. O-
Tech, a Louisiana corporation and a Small Disadvantaged Business, 15 U.S.C. §§ 631-657f
(2000), is a full-service shipyard and marine construction facility, constructing vessels in
fiberglass, aluminum, and steel. Marinette, a division of the Manitowoc Marine Group,
based in Marinette, Wisconsin, has designed, built, and delivered more than 1,300 vessels
for government and commercial customers over its sixty-three year history. AR 40115-16.

        The Phase I contracts required Textron, O-Tech, and Marinette each to produce a
single RB-M test boat, which they delivered on October 29, 2003. AR 00701. Upon receipt
of the RB-M test boats, the USCG conducted extensive in-water testing and made
performance measurements. AR 00586. The USCG crews also rode in the test boats and
provided portions of their comments to the Phase I contractors. AR 00586. By April 2004
testing on the Phase I boats was complete. AR 40114.




     2/ The court cites to the administrative record, as supplemented (“AR”), when a
document is not self-identifying or when the record is quoted.

                                              3
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 4 of 82



        The USCG issued the Phase II Solicitation on April 25, 2005. AR 00583. The
contract ultimately was a negotiated best-value award, based on technical and price proposals
that were subject to a tiered review structure, guided by the criteria announced in the Phase
II Solicitation. The Phase II Solicitation contemplated the award of a single contract for the
design of the RB-M, including data rights thereto, and production of boats according to that
design. AR 00701-02. It included the option for production of up to 180 boats, as well as
various technical and support services to be provided over a period of up to eight years. AR
00586. Pursuant to an approved Justification for Other than Full and Open Competition, only
Textron, O-Tech, and Marinette were invited to participate in Phase II. AR 01663.

       The Phase II Solicitation relaxed the maximum permissible beam requirements, set
at fourteen feet overall in Phase I, to fifteen feet overall in Phase II. Compare AR 00876
with AR 50003. Each offeror was free to change its design to incorporate the new beam
allowance, to propose a new RB-M design entirely, or to propose the same design, as long
as they conformed to the minimum requirements of the Phase II Solicitation. AR 00991.

       On November 7, 2005, the contracting officer for the RB-M procurement decided to
exclude O-Tech and Textron from the competitive range. AR 71824. Following this notice
of the contracting officer’s decision, O-Tech filed a bid protest with the Government
Accountability Office (the “GAO”) on December 22, 2005. Compl., Ocean Tech. Services,
Inc. v. United States, No. 06-151C, ¶ 77 (Fed. Cl. Feb. 28, 2006). The following day,
Textron filed its protest. On February 21, 2006, O-Tech withdrew its GAO protest and sued
in the United States Court of Federal Claims. Subsequently, by order entered on March 3,
2006, O-Tech’s action was consolidated with Textron, Inc. v. United States, No. 06-161C
(Fed. Cl. Mar. 2, 2006), and Marinette intervened. Ocean Tech. Services, Nos. 06-151C, &
Textron, No. 06-161C ¶1 (Fed. Cl. Mar. 3, 2006) (order consolidating cases).

        On March 16, 2006, the USCG, through its counsel, telephonically informed this court
and the parties that it had opted to take unilateral corrective action by reinstating Textron and
O-Tech to the competitive range determination and reopening discussions. See Ocean Tech.
Services, Nos. 06-151C & 06-161C (Fed. Cl. Mar. 16, 2006) (order dismissing complaints
without prejudice and retaining jurisdiction to monitor discrete issues) (the “March 16
Order”). Accordingly, the court dismissed plaintiffs’ claims without prejudice, retaining
jurisdiction to monitor, inter alia, Textron’s allegations that improper action had been taken
by the USCG with regard to Textron’s teaming member, EDO Corporation (“EDO”). Id. ¶
2. On May 17, 2006, defendant filed a status report advising that the Government had found
no evidence to suggest that procurement laws had been violated. See Def.’s Status Report,
Nos. 06-151C & 06-161C, filed May 17, 2006, at 2-3. Final judgment was entered on May
18, 2006. Eighteen days after final judgment was entered, on June 5, 2006, Textron filed its
own status report to reserve “its right to protest in the event that [Marinette] names EDO as

                                               4
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 5 of 82



a teaming member.” Textron’s Status Report, Nos. 06-151C & 06-161C, filed June 5, 2006,
at 3.

       The procurement before the court was, as prescribed by section M.3 of the Phase II
Solicitation, a negotiated best-value selection. AR 00999. In accordance with section M.2
and M.3 of the Phase II Solicitation, the Source Selection Authority (the “SSA”) determined
that Marinette’s offer was the most “advantageous” to the Government using a “trade-off
process” in the source selection approach. AR 00999. “In this process, the Non-Price area
[was considered] significantly more important than Price.” AR 01000. Each of the non-price
evaluation factors–management, systems engineering, mission effectiveness, and
support–was to be considered equally. AR 01000. The “Response Boat Medium (RB-M)
Proposal Evaluation Procedures” (the “PEP”) directed the USCG evaluators to review each
proposal and identify deficiencies, significant weaknesses, strengths, and risks. AR 00619.
Evaluators were then to assign a “technical rating” and “risk rating” to each of the four non-
price factors. AR 40755-56, AR 00617. Price was evaluated for “completeness, price
reasonableness, cost realism and unbalanced pricing.” AR 01000.

       The discussion period following the USCG’s corrective action concluded on April 6,
2006. AR 40114. On April 27, 2006, the USCG received the Final Proposal Revisions (the
“FPR”) from Marinette, Textron, and O-Tech. AR 40114. The USCG announced the award
of the Phase II contract to Marinette on June 26, 2006, AR 40749, 40750, and O-Tech
protested to the GAO on July 10, 2006. Textron filed its complaint in the Court of Federal
Claims on July 12, 2006. On July 17, 2006, the GAO dismissed O-Tech’s protest, and O-
Tech filed an identical complaint in the Court of Federal Claims. Once again, plaintiffs’
cases were consolidated, and Marinette intervened. See Order entered July 14, 2006, ¶¶ 2,
16. Textron then moved for a preliminary injunction, followed by O-Tech; Textron, O-Tech,
Marinette, and defendant each filed separate briefs.

       Following argument on the motions for preliminary injunction on July 19, 2006, the
court ruled from the bench that plaintiffs had not established their entitlement to a
preliminary injunction. A Memorandum Order and Opinion, entered July 20, 2006,
memorialized the ruling. See Order entered July 20, 2006. The court found that the loss of
an opportunity to compete for a contract on a level playing field sufficiently established
irreparable harm for plaintiffs and ruled that, given the leisurely pace of the procurement,
defendant’s argument with regard to its national security and defense needs was
unpersuasive. Id. at 3-4. Nevertheless, Marinette easily refuted plaintiffs’ factual claims,
based only on “information and belief,” which belied plaintiffs’ ability to demonstrate a
likelihood of success on the merits. Id. at 5-7. Therefore, the court denied preliminary
injunctive relief. Id. at 7; see Chrysler Motors Corp. v. Auto Body Panels of Ohio, Inc., 908
F.2d 951, 953 (Fed. Cir. 1990) (holding that “the absence of an adequate showing with

                                              5
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 6 of 82



regard to any one factor may be sufficient, given the weight or lack of it assigned the other
factors, to justify the denial”).

       On August 25, 2006, O-Tech and Textron moved for summary judgment on the
administrative record pursuant to RCFC 52.1(b). Marinette and defendant filed cross-
motions for summary judgment on September 15, 2006, and September 22, 2006,
respectively. On July 25, 2006, defendant filed the initial administrative record, which was
supplemented without objection four times between July 26-31, 2006. See Notices of Filing
filed July 25-28, 2006; Order entered July 31, 2006 ¶ 1 (granting defendant’s unopposed
motion to supplement). Thereafter, plaintiffs moved to compel defendant to file the complete
administrative record. The motion was granted after a hearing on August 10, 2006. See
Order entered Aug. 10, 2006 ¶¶ 1-2 (granting, in part, plaintiffs’ motions to compel filing of
the administrative record). The administrative record again was supplemented on August 21,
2006; on September 8, 2006; and finally on September 21, 2006, following briefing. See
Orders entered Aug. 21, 2006, Sept. 8 & 21, 2006. Because this case implicates two protests,
a two-phase procurement, and the significant timing of the conduct of a renegade consultant,
the court has attached a time line of events as Appendix A to this opinion.

                                       DISCUSSION

I. Standard of review

       The Court of Federal Claims has jurisdiction over actions brought by unsuccessful
offerors in a government procurement pursuant to the Tucker Act, 28 U.S.C. § 1491(b)(1)
(2000), as amended by the Administrative Disputes Resolution Act of 1996, Pub. L. No.
104-320, § 12(a), 110 Stat. 3870, 3874-75 (codified at 28 U.S.C. § 1491(b)) (the “ADRA”).

       A. Standing

        As the United States Court of Appeals for the Federal Circuit has had occasion to
note, the history of judicial review in bid protest decisions is “both long and complicated.”
Impresa Construzioni Geom. Domenico Garufi v. United States, 238 F.3d 1324, 1331 (Fed.
Cir. 2001) (offering summary of history of bid protest judicial review) (“Garufi”). In 1996
Congress clarified the Court of Federal Claims’ bid protest jurisdiction when it passed the
ADRA, 28 U.S.C. § 1491(b)(1) (2000). The Federal Circuit considered the meaning of the
revised jurisdictional grant in Am. Fed’n of Gov’t Employees v. United States, 258 F.3d
1294, 1298 (Fed. Cir. 2001) (“AFGE”), concluding that the term “interested party” of section
1491(b)(1) should be construed “in accordance with the [Competition in Contracting Act,]”
31 U.S.C. § 3551(2) (2000). AFGE, 258 F.3d at 1302.



                                              6
        Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 7 of 82



        Accordingly, as a threshold matter, to have standing a protestor must demonstrate that
it is an “interested party objecting to a solicitation by a Federal agency.” 28 U.S.C.
§ 1491(b)(1). To meet this standard, an “interested party” must show that it is (1)“‘an actual
or prospective bidder[] or offeror[;]’” and (2) its “‘direct economic interest [is] affected by
the award of the contract or by failure to award the contract.’” Rex Serv. Corp. v. United
States, 448 F.3d 1305, 1307 (Fed. Cir. 2006) (quoting AFGE, 258 F.3d at 1294, and adopting
the language of CICA § 3551(2)(A) (emphasis omitted)); see also Banknote Corp. of Am.
v. United States, 365 F.3d 1345, 1352 (Fed. Cir. 2004).

        In applying the narrow standard adopted in AFGE, 258 F.3d 1302, the Federal Circuit
has construed the second element, the “direct economic interest” prong, to mean that a
successful protestor must also establish that the errors complained of caused prejudice. Id.
“Prejudice (or injury) is a necessary element of standing.” Myers Investigative and Security
Serv., Inc. v. United States, 275 F.3d 1366, 1370 (Fed. Cir. 2002). The requisite showing of
prejudice to establish standing is satisfied when a protestor demonstrates that, absent the
alleged error, a “substantial chance” exists that it would have received the contract award.
See Bannum, Inc. v. United States, 404 F.3d 1346, 1353 (Fed. Cir. 2005); see also Myers,
275 F.3d at 1370 (stating that “the substantial chance rule continues to apply”); Rex, 448
F.3d at 1308 (stating that, “to prove a direct economic interest . . . , [a protestor] is required
to establish that it had a ‘substantial chance’ of receiving the contract”). As applied by the
courts, this appealingly straightforward standard has proven to be the source of considerable
confusion.

       Recent in-depth review of case law undertaken by Judge Braden reveals judicial
interpretation of the substantial-chance standard has been anything but consistent. See
Comprehensive Health Services, Inc. v. United States, 70 Fed. Cl. 700, 717-18 (2006). Since
1990 the substantial-chance requirement has been construed as requiring everything from a
“greater than insubstantial” chance of success on the merits, Information Tech. &
Applications Corp. v. United States, 316 F.3d 1312, 1319 (Fed. Cir. 2003), to a “reasonable”
likelihood of receiving the award but for the alleged error, Data Gen. Corp. v. Johnson, 78
F.3d 1556, 1562-63 (Fed. Cir. 1996), to allowing only protest by the second-lowest bidder,
United States v. Int’l Bus. Machines Corp., 892 F.2d 1006, 1011 (Fed. Cir. 1990).

       As will be discussed more thoroughly in this opinion, confusion over the standard of
prejudice is further compounded because, in addition to being an element of standing, a
showing of prejudice is required before injunctive relief is granted. Bannum, 404 F.3d at
1353; Banknote, 365 F.3d at 1351. Although both of these showings of prejudice
theoretically may be satisfied by the same demonstration of a “substantial chance” of
receiving the award but for the alleged error, see Alfa Laval Separation, Inc. v. United States,
175 F.3d 1365, 1367 (Fed. Cir. 1999); Myers, 275 F.3d at 1370, the practice has varied. The

                                                7
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 8 of 82



prejudice requirement for standing generally has been satisfied by the mere showing that a
protestor “could compete for the contract,” Myers, 275 F.3d at 1370. At the same time, some
cases have examined more closely the merits-based showing required for injunctive relief as
a threshold requirement for standing. See, e.g., Galen Med. Associates v. United States, 369
F.3d 1324, 1330-31 (Fed. Cir. 2004) (prejudice not found when protestor could not meet
requirements of solicitation because it lacked the requisite facilities); Data Gen., 78 F.3d at
1563 (prejudice not suffered when, despite pricing error, protestor’s prices remained
substantially higher).

        Historically, success in compartmentalizing the two requisite prejudice showings has
been limited. See, e.g., Alfa Laval, 175 F.3d 1365. In Alfa Laval v. United States, 40 Fed.
Cl. 215, 234-35 (1998), rev’d & remanded, 175 F.3d 1365 (Fed. Cir. 1999), a merits-based
discussion of prejudice, this court ruled that, although a contract had been awarded based on
a proposal that was technically incomplete, no prejudice existed because of the “colossal”
price difference between the incomplete proposal and the only other proposal available for
consideration. Alfa Laval, 40 Fed. Cl. at 234-35. On appeal the Federal Circuit reversed
after applying the more lenient standard of prejudice reserved for issues of standing, i.e.,
determining that the protestor met all the qualifications for award. Alfa Laval, 175 F.3d at
1367. The result is conflation of the respective standards for prejudice as an element of
standing and prejudice as a gauge for determining whether a defect in a procurement decision
is insufficient to overturn it.

        Recently, in Fisher v. United States, 402 F.3d 1167 (Fed. Cir. 2005) (en banc), the
Federal Circuit elaborated upon the nuanced approach required in cases where jurisdictional
determinations risk overlapping with discussions of the merits. See also Metz v. United
States, No. 05-5158, 2006 WL 2727205 (Fed. Cir. Sept. 18, 2006). The Federal Circuit held
that the Court of Federal Claims’ jurisdiction under a provision in the Tucker Act, 28 U.S.C.
§ 1491(a)(1), which provides jurisdiction only for claims brought under the Constitution,
statutes, or regulations that allow for money damages against the United States, prescribed
a one-step process. 402 F.3d at 1172-73. The determination that a source of law is money-
mandating resolves both the court’s jurisdiction and the character of the money mandating
source. Id. The court then should proceed to the merits. Id.

       The case at bar risks plunging the court into a two-step approach similar to the one
that the Fisher court overruled en banc. The analysis discredited in Fisher would have
preserved jurisdiction based on a non-frivolous allegation unless a decision on the merits
undercuts it, in which case dismissal would be for lack of jurisdiction. See id. at 1172. For
example, Marinette responded to O-Tech’s motion by asserting that, inter alia, O-Tech lacks
standing because, due to its disqualifying rating in Systems Engineering, even if an error
occurred, as a non-contender, O-Tech was not prejudiced. See Marinette’s Br. (O-Tech)

                                              8
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 9 of 82



filed Sept. 15, 2006, at 21. Addressing Marinette’s contentions presupposes discussion of
the merits, which would lead the court in a round-robin through the arguments on the merits
in order to resolve a jurisdictional issue. Such is not a desirable or appropriate procedure.

        An approach similar to that of Fisher should be adopted to address the requisite
showing of prejudice. While focusing on the status of the protestor is appropriate for
assessing standing, a merits-based determination of actual prejudice should be treated
separately. This approach is particularly suited to the instant case. Notably, it would avoid
examining the parties’ arguments on the merits in order to resolve standing by employing a
standard that requires only that a protestor be (1) either a bidder or proposer that has been
prevented from bidding or proposing due to some infraction other than the terms of the
solicitation itself; or (2) either a bidder or proposer who would be in contention absent the
unreasonable procurement decision or violation of applicable procurement regulations.
Further, by explicitly allowing for two separate analyses, no confusion should exist that a
successful showing to establish standing augurs success when the protestor attempts to meet
the standard of prejudice for injunctive relief. See United States v. John C. Grimberg Co.,
702 F.2d 1362, 1372 (Fed. Cir. 1983) (granting injunctive relief reserved for exceptional
cases).

       B. Standard of review of a bid protest in a negotiated procurement

       In evaluating an agency procurement decision, the ADRA directs the court to use the
standard of review set forth in section 706 of title 5, i.e., the Administrative Procedure Act,
5 U.S.C. § 706 (2000) (the “APA”); see 28 U.S.C. § 1491(b)(4) (2000); Banknote, 365 F.3d
at 1350. The APA gives the court discretion to set aside agency action only if it is “arbitrary,
capricious, an abuse of discretion, or otherwise not in accordance with law.” 5 U.S.C.
§ 706(2)(A); see PGBA, LLC v. United States, 389 F.3d 1219, 1224-28 (Fed. Cir. 2004)
(holding that ADRA, in incorporating arbitrary and capricious standard of APA, did not alter
court’s equitable discretion in granting injunctive relief).

       The Federal Circuit restated in Bannum, 404 F.3d at 1351: “A bid protest proceeds
in two steps. First, . . . the trial court determines whether the government acted without
rational basis or contrary to law when evaluating the bids and awarding the contract.” 3/
Bannum, 404 F.3d at 1351; see Banknote, 365 F.3d at 1351; Info. Tech. Applications Corp.
v. United States, 316 F.3d 1312, 1318-19 (Fed. Cir. 2003); Garufi, 238 F.3d at 1333;



       3/ This language encompasses the alternative ground for a bid protest: whether the
agency action constituted a clear and prejudicial violation of an applicable procurement
regulation. See Garufi, 238 F.3d at 1335.

                                               9
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 10 of 82



Statistica, Inc. v. Christopher, 102 F.3d 1577, 1581 (Fed. Cir. 1996). Second, if the court
finds that the agency acted in violation of the APA standard, “then it proceeds to determine,
as a factual matter, if the bid protester was prejudiced by that conduct.” Bannum, 404 F.3d
at 1351. In either case a plaintiff bears the “heavy burden” of proving a lack of rational basis
or a violation of the law by a preponderance of the evidence. Garufi, 238 F.3d at 1333.

       C. Standard for reviewing negotiated procurement depending on nature of challenge

        In making the initial determination whether the agency action lacks rational basis or
is contrary to law or regulation, the court applies two analyses depending on the nature of the
challenge. For an agency action to possess a rational basis, “‘the contracting agency [must]
provide[] a coherent and reasonable explanation of its exercise of discretion.’” Garufi, 238
F.3d at 1332 (quoting Saratoga Dev. Corp. v. United States, 21 F.3d 445, 456 (D.C. Cir.
1994)). An agency is entitled to wide discretion in its evaluation of bids. Grumman Data
Sys. Corp. v. Widnall, 15 F.3d 1044, 1046 (Fed. Cir. 1994). The court must not substitute
its judgment for that of the agency; rather, it should defer to the agency’s analysis so long as
it has substantial basis in fact. See id.; see also Camp v. Pitts, 411 U.S. 138, 142-43 (1973);
Fed. Power Comm’n v. Florida Power & Light Co., 404 U.S. 453, 463 (1972); In re Sang
Su Lee, 277 F.3d 1338, 1344 (Fed. Cir. 2002).

        In particular, technical ranking decisions made by the agency are “minutiae of the
procurement process . . . , which involve discretionary determinations of procurement
officials that a court will not second guess.” E.W. Bliss Co. v. United States, 77 F.3d 445,
449 (Fed. Cir. 1996); see CCL Serv. Corp. v. United States, 48 Fed. Cl. 113, 120 (2000).
When government officials are granted in such situations a great deal of discretion, the
“aggrieved party faces a higher burden.” CCL Serv., 48 Fed. Cl. at 120 (citing Burroughs
Corp. v. United States, 617 F.2d 590, 597-98 (Ct. Cl. 1980)). “Thus, ‘[i]n reviewing
[plaintiff's] protest of the agency's technical evaluation and decision to eliminate an offeror
from the competitive range, we will not evaluate the proposal anew, but instead will examine
the agency's evaluation to ensure that it was reasonable and in accord with the evaluation
criteria listed in the solicitation.’” Id. (quoting In re Beneco Enterprises, Inc., 70 Comp. Gen.
574, 576 (1991)). Because the procurement in this case is a negotiated “best value,” AR
00999, “the protestor’s burden of proving that the award was arbitrary, capricious, an abuse
of discretion, or otherwise not in accordance with law is greater than in other types of bid
protests.” Galen Med., 369 F.3d at 1329 (citing LaBarge Prods., Inc. v. West, 46 F.3d 1547,
1555 (Fed. Cir. 1995), and Burroughs, 617 F.2d 590).

       Agency procurement procedures that are contrary to applicable laws and regulations
also violate the APA standard. 5 U.S.C. § 706(2)(A); Bannum, 404 F.3d at 1351; Garufi,
238 F.3d at 1335; Emery Worldwide Airlines, Inc. v. United States, 264 F.3d 1071, 1085-86

                                               10
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 11 of 82



(Fed. Cir. 2001). Federal law requires an agency to “evaluate . . . competitive proposals and
make an award based solely on the factors specified in the solicitation.” 10 U.S.C. §
2305(b)(1) (2000). In contrast with the analysis of whether the agency decision has a rational
basis, an agency has no discretion regarding the mandate of applicable laws and regulations.
It is irrelevant whether the agency views the regulation or requirement of the solicitation as
important; the agency is bound strictly by its terms “‘regardless of the panel’s view of the
appropriateness of the standard.’” Alfa Laval, 175 F.3d at 1367-68 (quoting Alfa Laval, 40
Fed. Cl. at 230.

       D. Standard of review for judgment on the administrative record

       The parties filed cross-motions for judgment on the administrative record pursuant to
RCFC 52.1. 4/ Rule 52.1 provides a procedure for expedited trial on a “paper record,
allowing fact-finding by the trial court.” Bannum, 404 F.3d at 1356. Unlike a motion for
summary judgment, a genuine dispute regarding a material fact will not preclude a judgment
on the administrative record. See id. The parties are restricted to the agency record and any
supplementation consistent with RCFC 52.1. See RCFC 52.1, rules committee note (2006).
The court must make findings of fact from this record as if it were conducting a trial.
Bannum, 404 F.3d at 1357.

       In certain circumstances the administrative record may be supplemented. Garufi, 238
F.3d at 1338 (stating that supplementation is appropriate where “required for meaningful
judicial review”); GraphicData LLC v. United States, 37 Fed. Cl. 771, 778-80 (1997); see
also CCL Serv., 48 Fed. Cl. at 118-20. In general, the court will supplement the
administrative record when it is necessary for a full and complete understanding of the issues.
Al Ghanim Combined Group Co. Gen. Trad. & Cont. W.L.L. v. United States, 56 Fed. Cl.
502, 508 (2003) (allowing supplementation of “evidence without which the court cannot fully
understand the issues”).

       E. Standard for obtaining injunctive relief

       Plaintiffs ask that the USCG be enjoined from awarding the contract to Marinette.
The Federal Circuit has characterized the award of injunctive relief as “extraordinary” and
only to be granted in limited circumstances. John C. Grimberg Co., 702 F.2d at 1372. In
order to obtain an injunction, a protestor must demonstrate by a preponderance of the
evidence that (1) it succeeds on the merits; (2) it will suffer irreparable harm if injunctive



      4/ RCFC 56.1 was withdrawn effective June 20, 2006. RCFC 52.1 replaced RCFC
56.1. RCFC 52.1 allows for judgment on the administrative record.

                                              11
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 12 of 82



relief is not granted; (3) the harm to plaintiff if an injunction is not granted outweighs the
harm to the Government if an injunction is granted; and (4) the injunction is not against the
public interest. PGBA, 389 F.3d at 1228-29; FMC Corp. v. United States, 3 F.3d 424, 427
(Fed. Cir. 1993); see U.S. Ass’n of Importers of Textiles & Apparel v. United States, 413
F.3d 1344, 1346 (Fed. Cir. 2005). “No one factor, taken individually, is necessarily
dispositive.” FMC, 3 F.3d at 427. “[T]he absence of an adequate showing with regard to any
one factor may be sufficient, given the weight or lack of it assigned the other factors, to
justify the denial.” Chrysler Motors, 908 F.2d at 953.

       When injunctive relief is warranted, it will only be issued upon a showing by a
preponderance of the admissible evidence. See GraphicData, LLC, 37 Fed. Cl. at 779;
PCI/RCI v. United States, 36 Fed. Cl. 761, 767 (1996); Stapp Towing, Inc. v. United States,
34 Fed. Cl. 300, 305 (1995); C & G Excavating v. United States, 32 Fed. Cl. 231, 235
(1994); Logicon, Inc. v. United States, 22 Cl. Ct. 776, 783 (1991). Although some judges
of the Court of Federal Claims insist upon the higher “clear and convincing” standard for
injunctive relief, this court repeatedly has noted that such an approach is utterly without
binding precedential support. See Bannum Inc. v. United States, 60 Fed. Cl. 718, 723 (2004)
(tracing line of cases advocating clear and convincing standard to another federal appellate
court’s statement in 1964 that “[i]njunction is a drastic remedy to be exercised with caution,
and should be granted only in cases where the necessity therefor is clearly established.”
Goldammer v. Fay, 326 F.2d 268, 270 (10th Cir. 1964)), aff’d, Bannum, 404 F.3d at 1346.

        This debate is not semantic. Securing injunctive relief is a costly process that places
upon the protestor a sufficiently heavy burden without hobbling those who come to court
with the challenge of, inter alia, obtaining preliminary injunctive relief by proving
probability of success on the merits by clear and convincing evidence—a paradigm of
oxymoronic legalisms. The latest case to advocate the clear and convincing standard, KSD,
Inc. v. United States, 72 Fed. Cl. 236, 266 (2006), cites no binding precedent that explicitly
adopts this remarkable and bizarre standard.

II. Success on the merits

        To demonstrate success on the merits, plaintiffs must prove either that the USCG
acted without a rational basis when it selected Marinette as the contractor or they must show
“a clear and prejudicial violation of applicable statutes or regulations.” Garufi, 238 F.3d at
1333. In addition, plaintiffs must prove that the USCG’s actions prejudiced them. “[I]f the
trial court finds that the government’s conduct fails the APA review under 5 U.S.C. §
706(2)(A), then it proceeds to determine, as a factual matter, if the bid protestor was
prejudiced by that conduct.” Bannum, 404 F.3d at 1351. “[T]he prejudice determination



                                              12
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 13 of 82



assesses whether an adjudged violation of law warrants setting aside of a contract award.”
Id. at 1357.

        Plaintiffs attack the procurement process at issue with four arguments. First, Textron
insists that the USCG took inadequate corrective action in response to plaintiffs’ previous
pre-award bid protest. Plaintiffs next argue that Marinette’s proposed RB-M was technically
unacceptable, as it failed to meet the minimum solicitation requirements and “somehow
escaped meaningful government scrutiny.” O-Tech’s Br. filed Aug. 25, 2006, at 1, 5; see
Textron’s Br. filed Aug. 25, 2006, at 2-4. Moreover, they maintain that the USCG
improperly and unfairly evaluated their RB-M proposals by applying an unstated solicitation
requirement to their proposed RB-Ms, and by unevenly evaluating their vessels in a manner
that favored Marinette. Finally, plaintiffs argue that the USCG’s best value determination
was irrational.

       A. The USCG took adequate corrective action

              1. Textron-EDO Teaming Agreement/ISM Issue

       The Phase II Solicitation called for proposals regarding the Integrated Systems Model
(“ISM”). AR 00990. The ISM is a group of multi-dimensional relational databases used to
track and manage all design changes, maintenance, spare parts acquisition, and other support
needs for the RB-M, which include a full-time, onsite Information Technology integrator.
The ISM is listed in the Phase II Solicitation as a required element of the Systems
Engineering and Support Non-Price Areas. 5/ AR 00990, 00992.

       On May 20, 2005, Textron and EDO entered into a “USCG Response Boat - Medium
Teaming Agreement” (the “Teaming Agreement”), by which EDO agreed to work as an
exclusive subcontractor to Textron regarding certain areas of responsibility. PX (Textron)
10 at 1. These areas of responsibility included the requirement that “EDO shall offer
[Textron] its advice and aid, and shall prepare the substantive content of its areas of the
proposal.” Id. Exhibit A to the Teaming Agreement, which tentatively establishes the
“spheres of endeavor and responsibility of each party,” states that EDO’s responsibilities



       5/ Section L.13.4.1.9 of the Phase II Solicitation requires offerors to “[e]xplain how
the ISM will be developed, deployed, maintained, and integrated with Coast Guard systems.”
AR 00990. Section L.13.6.2 of the Phase II Solicitation requires offerors to “[d]escribe
plans for deploying data collection capabilities and training personnel in its use. Address
how these programs will be used to refine the RB-M design, . . . and their integration with
the ISM.” AR 00992.

                                             13
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 14 of 82



include “[d]esign and implementation of the Integrated System Model (ISM).” Id. at 2, 11.
In accordance with the Teaming Agreement, Textron’s initial Phase II proposal designated
EDO as its ISM teaming member and included information regarding the ISM as developed
by EDO. Marinette’s and O-Tech’s initial Phase II proposals identified Chand L.L.C.
(“Chand”) as their ISM teaming member. AR 70153-77, 30034.

        On November 7, 2005, following the submission of the initial Phase II proposals, the
USCG decided to exclude the Textron-EDO and O-Tech teams from the competitive range,
because the contracting officer for the RB-M project determined that their proposals
contained “deficiencies for which correction would require a major revision or redirection
of their respective proposals.” AR 71829. After being excluded from the competitive range,
O-Tech filed its first bid protest action with the court. Ocean Tech. Services, Inc. v. United
States, No. 06-151C (Fed. Cl. Feb. 28, 2006). Textron also filed a complaint and notice of
related case, Textron, Inc. v. United States, No. 06-161C (Fed. Cl. Mar. 2, 2006), which was
consolidated with No. 06-151C. The complaint alleged, inter alia, that, following Textron’s
elimination, (1) Marinette teamed with EDO on a revision of its ISM proposal between
November 22, 2005, and December 13, 2005, in violation of the Teaming Agreement and (2)
the USCG had directed Marinette to contact EDO which would constitute a violation of
procurement regulations.

       Following initial argument on plaintiffs’ motions for preliminary injunction, on March
16, 2006, the USCG voluntarily agreed to take corrective action. See Ocean Tech. Services,
Nos. 06-151C & 06-161C, at 1 (Fed. Cl. Mar. 16, 2006) (the “March 16 Order”). The court
retained jurisdiction to permit the USCG to “investigate and analyze the allegations of
Textron’s counsel” that the USCG had directed Marinette to “contact EDO, which would
constitute a gross impropriety . . . , thereby causing Textron to lose a significant competitive
advantage in respect of its Integrated Systems Model.” See March 16 Order at 2.

       On May 17, 2006, defendant advised that the “Government has concluded that this
information does not indicate a violation of the procurement laws occurred here. This
information does not substantiate that someone in the Coast Guard leaked sensitive
procurement information.” Def.’s Status Report, Nos. 06-1151C & 06-161C, filed May 17,
2006, at 2. Defendant also reported that the USCG “has included both plaintiffs, Textron and
O-Tech, in the competitive range, and conducted discussions, in good faith, with O-Tech,
Textron, and MMC . . . . and the [USCG] anticipates that it will award a contract to one of
the offerors based upon its evaluation of the FPRs.” Id. at 3-4. Subsequently, the court
dismissed the pre-award bid protest pursuant to an order dated May 18, 2006. See Ocean
Tech. Services, Nos. 06-151C & 06-161C, at 2 (Fed. Cl. May 18, 2006) (order directing entry
of judgment). On June 5, 2006, Textron submitted a Status Report, filed by leave of court,
making its record that defendant failed to “assess the exclusivity of Textron’s teaming

                                              14
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 15 of 82



agreement with EDO” and stating that “[d]efendant did not accomplish this objective, as
directed by the Court, and Textron reserves its right to protest based on this issue in the
future.” Textron’s Status Report, Nos. 06-151C & 06-161C, filed June 5, 2006, at 2. 6/

        Marinette, sometime between the dismissal of the pre-award bid protest and the
submission of the FPRs, teamed with EDO to revise its ISM proposal before submitting its
FPR. Marinette submitted a FPR that included ISM materials that were generated using
EDO’s assistance. Subsequently, Textron filed its second bid protest in the Court of Federal
Claims on July 13, 2006, alleging (1) that the USCG failed to take appropriate corrective
action following dismissal of the pre-award bid protest on May 22, 2006; and (2) the USCG
interfered with the Textron-EDO exclusive Teaming Agreement by allowing sensitive
procurement information to be disclosed. Textron requested injunctive relief in the form of
(1) reinstatement of Textron into the competitive range; (2) an injunction prohibiting the
USCG from making an award to Marinette; and (3) an award of attorneys’ fees and costs.

                     1) Corrective Action

       Textron argues that the corrective action taken by the USCG, after readmitting
Textron and O-Tech into the competitive range, failed to redress the harm caused by the
USCG’s improper exclusion of Textron from the competitive range. Specifically, Textron
contends that the USCG failed to discount Marinette’s reliance on EDO in its FPR, even
though the USCG was aware that Textron and EDO had entered into an exclusive Teaming
Agreement. By failing “to [sic] inform Marinette that it would not receive any credit if it
relied on EDO or information provided by EDO in Marinette’s subsequent proposal,”
Textron’s Br. filed Aug. 25, 2006, at 3, Textron argues that the USCG failed to take
appropriate voluntary corrective action in effectuating Textron’s reinstatement into the
competitive range. Textron argues that the USCG’s action was flawed because (1) the
USCG’s voluntary corrective action was insufficient in addressing the terms of the March
16 Order; and (2) the exclusivity of the Teaming Agreement was made known to the USCG
and defendant after the first pre-award bid protest, so defendant was bound to take this into
account when undertaking voluntary corrective action. Textron cites these failures as an
abuse of discretion, actions without a reasonable basis, and a violation of applicable
procurement rules and regulations.



       6/ Textron’s reply brief argues that it filed its response to Defendant’s Status Report
on May 22, 2006. Textron’s Br. (Def.) filed Oct. 10, 2006, at 24. The court notes that this
argument is not entirely accurate. Although Textron’s Status Report was served on May 22,
2006, it was not filed until June 5, 2006, by leave of the court. Textron’s Status Report, Nos.
06-151C & 06-161C, filed June 5, 2006.

                                              15
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 16 of 82



       The Court of Federal Claims has jurisdiction to review the propriety of corrective
actions made subsequent to a pre-award bid protest. See ManTech Telecommunications &
Info. Sys. Corp. v. United States, 49 Fed. Cl. 57, 65 n.13 (2001), aff’d, 30 Fed. App’x 995
(Fed. Cir. Mar. 18, 2002) (reviewing proposed corrective action for improprieties); see also
28 U.S.C. § 1491(b)(1).

       Textron argues that the USCG’s voluntary corrective action was insufficient to
address the terms of the March 16 Order by which the court dismissed the case, retaining
limited jurisdiction to monitor the USCG’s investigation of Textron’s allegations of
impropriety. Textron insists that the “USCG was required to take reasonable corrective
action to resolve the harm caused by its corrective action.” Textron’s Br. filed Aug. 25,
2006, at 10-11. The language of the order deflates this assertion, as it provides that
defendant “intends to take corrective action by reopening discussions with the three
remaining offerors as to their technical proposals.” March 16 Order at 1. Contrary to
Textron’s argument, the March 16 Order states that the USCG merely would “take corrective
action by reopening discussions with the three remaining offerors as to their technical
proposals.” Id. at 1.

       Textron also argues that the exclusivity of the Teaming Agreement was made known
to the USCG subsequent to the first pre-award bid protest and that the USCG was bound to
take this into account when undertaking voluntary corrective action. Based on a failure to
expurgate from Marinette’s Phase II proposal any technical assistance that EDO provided to
Marinette, Textron indicts the evaluation of its FPR as inflicting a competitive disadvantage.
The March 16 Order required that the USCG “analyze and investigate the allegations of
Textron’s counsel,” which entailed review of the Teaming Agreement. March 16 Order at
2. Thus, the USCG was provided notice of the existing Teaming Agreement prior to the
voluntary corrective action.

       Textron’s argument first relies upon the exclusivity of the Teaming Agreement
between Textron and EDO, which was entered into on May 20, 2005. The Teaming
Agreement includes an exclusivity provision at section 7.1, which reflects the parties’
agreement “not [to] actively participate in other team efforts that are competitive to this
Agreement nor compete independently for work covered by the Program during the term of
this Agreement.” PX (Textron) 10 at 6. The Teaming Agreement also provides for the
termination of the agreement in section 5.1(b) upon “[n]otice that the EDO/[Textron] team
has been eliminated from consideration for award of a contract for any solicitation issued for
the Program.” Id. Should the Teaming Agreement be subject to termination, section 5.2
further states: “[E]ither party shall be free to pursue its individual technical approaches in
association with the successful contractor or a third party.” Id. Thus, while the terms of the
Teaming Agreement establish that Textron and EDO at one time committed to be exclusive

                                             16
      Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 17 of 82



partners, the exclusive agreement terminated upon notice of elimination of the Textron-EDO
team from consideration. 7/ The Teaming Agreement did not address what effect, if any, a
bid protest action or readmission to competitive range would have on the Teaming
Agreement.

       To further complicate matters, Textron has submitted evidence that EDO voluntarily
recommitted itself on two occasions to maintaining exclusivity with Textron by virtue of its
correspondence. On January 10, 2006, Gary Nelson, General Manager of EDO, sent an e-
mail to Charles Bongard, Director of Contracts for Textron, stating:

       EDO Professional Services will honor all terms and conditions of Textron’s
       teaming agreement of May 26, 2005 . . . , should the Government Accounting
       Office (GAO) decide in favor of Textron’s protest. Absent a successful
       protest, the termination clause in paragraph 5.1 of the Teaming Agreement
       shall be enforced.

AR 90626. Second, in a letter dated March 29, 2006, Michael Sepelyak, Director of
Contracts for EDO, made a similar statement to Mr. Bongard at Textron regarding the
exclusivity of the teaming agreement:

       EDO is pleased to commit to an exclusive arrangement with Textron for the
       US Coast Guard RB-M proposal and will provide to Textron ILS and ISM
       support services . . . . Additionally, EDO has no other formal teaming
       relationship with any of the other competitors for this proposal and will refrain
       from providing any informal assistance to those competitors during the
       proposal process.

AR 90628.




       7/ While the court disagrees with Marinette’s argument that the Teaming Agreement
was an unenforceable contract, the court finds that the Teaming Agreement terminated when
the USCG eliminated Textron from the competitive range. See FAR 9.602(a)(2)
(acknowledging desirability of teaming agreements); see ATACS Corp. v. Trans World
Communications, Inc., 155 F.3d 659, 666 (3d Cir. 1998) (holding that teaming agreements
are enforceable when parties can demonstrate “(1) the intent of the parties to enter into a
binding contractual relationship; and (2) the existence of sufficiently objective criteria to
enforce”).

                                              17
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 18 of 82



        Textron reasons that its improper exclusion by the USCG was unforeseeable and that
Textron justifiably assumed that the USCG would not improperly exclude Textron from the
competitive range. Textron does not view itself as obligated to anticipate the USCG’s
improper exclusion, and thus “Marinette’s ability to access EDO was the result of [the]
USCG’s improper actions, not of a[n] inadequately drafted teaming agreement.” Textron’s
Br. filed Aug. 25, 2006, at 11. To support this novel proposition, Textron has cited to
decisions involving protests before the GAO which state that offerors are not obligated to act
“in anticipation of improper actions by the contracting agency,” In re Mine Safety Appliances
Co., B-233052, 89-1 CPD ¶ 127, and that offerors “may presume that the agency will act
properly.” In re Am. Multi Media, Inc., B-293782.2, 2004 CPD ¶ 158; see also In re
Haworth Inc., B-256702, 94-2 CPD ¶ 98; In re Abbott GmbH Diagnostika B-241513, 91-1
CPD ¶ 139; In re Tamper Corp., B-235366.2, 89-2 CPD ¶ 79; In re Dock Express
Contractors, Inc. B-227865.3, 88-1 CPD ¶ 23. These cases relate to the filing of a defensive
bid protest in anticipation of an improper action when an offeror has received some form of
informal or formal notification. Therefore, they are not germane to the issue of whether the
Teaming Agreement defines the parties’ legal commitments irrespective of subsequent
dealings, assuming that the USCG knew, or should have known, about them. While the cited
GAO decisions provide support for Textron’s ability to challenge improper agency action
that ignored the Teaming Agreement or EDO’s subsequent recommitment to Textron, they
do not advance Textron’s argument that the USCG acted contrary to either interest.

       Textron nonetheless contends that the USCG was required to neutralize the
competitive advantage that Marinette gained from teaming with EDO because it was the
result of improper agency action, citing to other GAO decisions. See, e.g., In re Ford
Aerospace Corp., B-239676, 91-1 CPD ¶ 260; In re Minotaur Eng’g, B-259326, 95-1 CPD
¶ 157; In re Smith & Wesson, B-232681, 89-1 CPD ¶ 134; In re Computer Sciences Corp.,
B-190632, 79-2 CPD ¶ 102. Each of the cited decisions is distinguishable from Textron’s,
as each involves a finding or admission of direct prejudice as a result of agency action. See
Burroughs, 617 F.2d at 596-97 (discussing the non-binding nature of Comptroller General
decisions). For example, in Ford Aerospace, B-239676, 91-1 CPD ¶ 260, a prior GAO
protest decision required the Department of the Navy to reissue a request for proposals due
to improprieties in the evaluation of initial proposals. The Navy imposed a $13.1 million
penalty on all offerors other than the initial proposal awardee, which substantially and
directly prejudiced all other offerors. Id. In Smith & Wesson, B-232681, 89-1 CPD ¶ 134,
the Army intended to add “generic” and other costs to each of the offerors except for the
incumbent entity after the Army had been ordered to issue a new RFP as the result of a prior
protest. The GAO found that assigning the additional costs to all non-incumbent offerors
was improper because it was a direct competitive disadvantage imposed by the Army. Id. at
*4, *8. The GAO therefore required the Army to amend the solicitation to “omit ‘generic’
and other costs from the evaluation of price proposals.” Id.

                                             18
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 19 of 82



       In contrast to Smith & Wesson, B-232681, 89-1 CPD ¶ 134, the USCG reinstated
Textron into the competitive range pursuant to a voluntary correction, not in response to a
finding of improper action. Any injury inflicted upon Textron occurred because of EDO’s
actions, not because of any action on the part of the USCG. While the USCG may have
been made aware of the nature of the Teaming Agreement, Textron did not demonstrate that
Textron was harmed as a direct result of action by the USCG. 8/

                     2) Potential disclosure of source selection information

       Between March 16, 2006, and May 18, 2006, the court retained jurisdiction to
investigate allegations that the USCG had disclosed proprietary information, ordering the
USCG to investigate whether it had “directed [Marinette] to contact EDO, which would
constitute a gross impropriety.” March 16 Order at 2. Cmdr. Jerry Doherty, currently
Commanding Officer of the RB-M Project Resident Office, became aware of a rumor that
“Textron believed the identity of its ISM subcontractor had been divulged to Marinette.”
Decl. of Cmdr. Jerry Doherty, Oct. 16, 2006, ¶ 3. 9/

       Because of the seriousness of the subject of the rumor [Cmdr. Doherty]
       initiated and conducted an informal investigation into whether there was any
       basis for the rumor. [Cmdr. Doherty] conducted this informal investigation by
       briefly meeting and talking with those key members of the SEB [Solicitation
       Evaluation Board] organization who would have been privy to the subject
       information. Based upon this informal investigation, [Cmdr. Doherty]
       concluded that there was no evidence to support the rumor.



       8/ The Teaming Agreement itself provides for the exclusive avenue of relief in the
Massachusetts judicial system. Section 9 of the Teaming Agreement reads: “Any disputes
arising under this Agreement that are unable to be settled by the parties pursuant to the above
procedure shall be resolved in a court of appropriate jurisdiction located in the State of
Massachusetts.” PX (Textron) 10 at 6. If the USCG had interfered with the Textron-EDO
relationship by allowing Marinette to propose based on EDO’s assistance, in contravention
of the provision of the Teaming Agreement, Textron’s argument that the USCG acted
arbitrarily by intentionally interfering with a contractual relationship would be stronger. See
Gregory Lumber Co. v. United States, 9 Cl. Ct. 503, 518 (1986) (cited with approval in Jireh
Consulting Inc., v. United States, 167 F. App’x 179 (Fed. Cir. 2006) (unpubl.).

       9/ From May 2002 to December 2005, Cmdr. Doherty was the Deputy Project
Manager for the RB-M Project, and from May 2002 through the present he has been an
advisor to the Proposal Evaluation and Analysis Group. Doherty Decl. at 1.

                                              19
      Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 20 of 82



Doherty Decl. ¶ 3. After the court ordered Textron and defendant to investigate allegations
of impropriety and charged both with the task of making a formal investigation, the RB-M
team met to discuss Textron’s assertions. Doherty Decl. ¶ 4. At this meeting Cmdr. Doherty
was “appointed to pursue an investigation pursuant to the PEP Security Plan, to determine
if further action was necessary.” Id.

              On March 24, 2006, [Cmdr. Doherty] sent an e-mail . . . to RB-M Team
       members (present and past), outlining Textron’s allegation and requesting that
       each member contact [Cmdr. Doherty] about whether they had any information
       that would shed light on this serious allegation. [Cmdr. Doherty] also met with
       those RB-M Team members and ex-team members who would most likely be
       able to assist in identifying any unauthorized disclosure of source selection
       information.

Id. ¶ 5. As a result of this investigation, on May 17, 2006, defendant reported that
“information does not substantiate that someone in the Coast Guard leaked sensitive
procurement information, such as the identity of Textron’s ISM subcontractor, EDO.” Def.’s
Status Report, Nos. 06-151C & 06-161C, filed May 17, 2006, at 2. The investigation
disclosed indications that EDO was seeking information on how it performed in the RB-M
evaluation:

       In one specific case, Ms. Wroton advised [Cmdr. Doherty] that she had been
       approached by EDO representatives in an attempt to obtain information on
       how well EDO had fared regarding the evaluation of Textron’s ISM proposal,
       and Ms. Wroton had appropriately explained to EDO that the terms of her
       Non-Disclosure agreement prohibited her from giving any evaluation
       information whatsoever.

Doherty Decl. ¶ 5.

       Significantly, the March 16 Order directed the USCG to “investigate and analyze the
allegations of Textron’s counsel,” while Textron was ordered to make available “all
individuals, including those from EDO and the Coast Guard, with personal knowledge of the
allegations related by Textron’s counsel . . . for one joint in-person interview with counsel
and representatives of [O-Tech], Marinette, the [USCG], and the Department of Justice.”
March 16 Order ¶¶ 3, 3.2. The court also indicated that subpoenas would be issued “upon
request.” Id. ¶ 3.2.




                                             20
      Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 21 of 82



       According to defendant’s May 12, 2006 Status Report, after the March 16 Order was
entered, Textron identified employees of EDO that it wanted to interview. Def.’s Status
Report, Nos. 06-151C & 06-161C, filed May 17, 2006, at 1-2.

       On March 20, 2006, a telephone conference was held which involved attorneys
       for the Government, Textron, [O-Tech], [Marinette], and EDO. During the
       conference, EDO’s attorney represented what the EDO employees who had
       been identified by Textron’s attorney, would say if they were interviewed with
       regard to this matter. Following this conference, Textron’s counsel indicated
       that he wanted to proceed with the interviews, and the interviews were
       scheduled for April 3, 2006. However, on March 30, 2006, Textron’s counsel
       cancelled the interview.

Id. at 2. Textron has not disputed these statements. According to Marinette’s counsel, an e-
mail dated November 22, 2005 (the “November 22 e-mail”), was read to counsel in the
March 20, 2006, conference call evidencing that EDO had contacted Marinette, not vice
versa. The e-mail in question was sent from Craig A. Proulx of EDO to Al Bernard at
Marinette on Tuesday, November 22, 2005, at 5:30 p.m. and states:

       Al,
       A very good friend, Eric Midboe gave me your e-mail address. I am trying to
       contact the correct person at Marinette about the USCG RBM Program. I was
       the person who developed and wrote the ILS section of the RBM proposal for
       Textron Marine. I also fulfilled the Integrated Systems Model (ISM) portion
       of their proposal. The company I work for (EDO Corporation) developed a
       Life-cycle Logistics management information system (24/7 web portal) that
       meets all of the ISM requirements of the USCG RBM RFP. I have left a
       message with Stain Laired about this. I also found out that we were the only
       company that passed the RBM ILS and ISM requirements. EDO would like
       to speak with you about assisting you with your ISM requirements. The
       system we have is called Logistics Engineering Management System (LEMS).
       See attached file. It fulfills every one of the RBM ISM requirements. We
       would like to demonstrate that fact to you. Thank you,

       Craig A Proulx
       EDO Corporation
       703 824-4605 w
       703 216-4974 c




                                            21
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 22 of 82



PX (Textron) 34 (The November 22 e-mail was added to the administrative record on
September 21, 2006). Textron maintains that it only became aware of the text of this e-mail
on September 15, 2006, when Marinette filed a motion to supplement the administrative
record with the November 22 e-mail and, therefore, could not have investigated it before the
court dismissed the earlier protest. According to Textron, the e-mail supports an inference
that the USCG allowed sensitive procurement information to be leaked to EDO personnel.

       To succeed in its argument that the USCG improperly disclosed sensitive procurement
information, Textron faces a high burden. The Government is presumed to act without bad
faith. Am-Pro Protective Agency, Inc. v. United States, 281 F.3d 1234, 1240 (Fed. Cir.
2002). The standard for demonstrating “well-nigh irrefragable proof” is high, as it refers to
“evidence ‘that cannot be refuted or disproved.” Id. at 1240; see also Galen Med., 369 F.3d
at 1331.

       As with the clear and convincing standard, the requirement of “well-nigh
       irrefragable proof” also sets a high hurdle for a challenger seeking to prove
       that a government official acted in bad faith: In the cases where the court has
       considered allegations of bad faith, the necessary “irrefragable proof” has been
       equated to evidence of some specific intent to injure the plaintiff.

Am-Pro Protective Agency, 281 F.3d at 1240; see also Knotts v. United States,128 Ct. Cl.
489 (1954).

        Textron has failed to meet this burden. The court gave Textron leave to conduct
interviews with Marinette and EDO personnel. See March 16 Order ¶ 2. Textron scheduled
interviews with these individuals, only to cancel them days later. See Def.’s Status Report,
Nos. 06-151C & 06-161C, filed May 17, 2006, at 2. Now Textron argues that the USCG’s
corrective action and investigation were inadequate, asking the court’s leave to pursue
another investigation or to grant a permanent injunction, even though Textron failed to avail
itself of the opportunity earlier. Counsel for Textron argues that it was reasonable to cancel
the interviews that it had scheduled and terminate its initial investigation into the matter for
three reasons:

       Number one, I had EDO’s counsel’s representation that EDO was mistaken.
       I had Marinette’s counsel’s representation that EDO was mistaken . . . and that
       Marinette had never received the identity of EDO from Defendant which was
       what we though was the issue at the time. I had Marinette’s counsel’s
       representation that in fact Marinette did not contact EDO. That it was the
       other way around. And finally . . .[Counsel for Marinette] provide[d] a copy
       of the [November 22] email, . . . to [Counsel for the USCG]. [Counsel for the

                                              22
      Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 23 of 82



       USCG] reviewed the email, and I had his representation that he saw no
       evidence of any procurement violation.

Transcript of Proceedings, Textron, Inc. v. United States, No. 06-517C & Ocean Tech.
Services, Inc. v. United States, No. 06-523C, at 129 (Fed. Cl. Oct. 24, 2006) (“Tr.”).

       The court disagrees, finding that Textron had leave to conduct interviews with
Marinette and EDO personnel as well as subpoena power, but that Textron elected to accept
the word of counsel for EDO. This was not reasonable given the circumstances. Even
assuming that Textron did not have access to the November 22 e-mail until September 21,
2006, Textron had sufficient information at its disposal that further investigation into the
matter would have been reasonable. In addition to the rumors and statements from EDO that
persuaded the court to order the USCG and Textron to investigate the allegations initially,
Textron also had in its possession a handwritten memo that should have led it to follow
through with its concerns more proactively. 10/ When the court authorized the investigation,
Textron was aware that sensitive procurement information may have been released
improperly. Textron had the opportunity to determine whether sensitive information was
released to EDO or Marinette in violation of procurement regulations, or whether EDO’s
statements regarding their ISM system ranking amounted to a mistake or “sales pitch,” as
defendant and Marinette argue. Def.’s Br. (Textron) filed Oct. 16, 2006, at 18.

       The USCG investigated the allegations of impropriety and determined that the
“information does not indicate a violation of the procurement laws occurred.” Def.’s Status
Report filed May 17, 2006, at 2. Although the court finds that the USCG could have
conducted a more aggressive, in-depth investigation, Cmdr. Doherty did uncover that EDO
had approached Ms. Wroton seeking sensitive procurement information. Doherty Decl. ¶ 5.
The USCG had measures in place to prevent the type of disclosure EDO was seeking when
it approached Ms. Wroton, including conflict of interest/non-disclosure forms that all



      10/ Textron had in its possession a telephone memorandum of an unnamed Textron
employee dated November 18, 2005, stating:

              Wed Evening – Rec’d call from Marinette Marine (senior Person Resp.
       For RBM Proposal)
              “Little Birdies” told them Textron’s ILS ISM section is the only
       proposal that passed all reviews – Want EDO to help them w/ISM. They have
       already called them and are looking for help.

Tr. Ex. B.

                                            23
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 24 of 82



members of the RB-M team were required to sign. Tr. at 169-70. The USCG placed
significant weight on the non-disclosure forms, and the court cannot find that it was
unreasonable for it to do so.

        The only inference that can be drawn from the e-mail, to which Textron argues that
it did not have access to during the pre-award bid protest, is that EDO was seeking
information about its ISM program, and in the process EDO discovered or inferred some
correct and some incorrect information. 11/ This is not enough to overcome the presumption
that the Government does not act in bad faith. Am-Pro Protective Agency, 281 F.3d at 1240.

        The court agrees with defendant that if Textron wanted to challenge the corrective
action or the adequacy of the investigation, several options were presented: (1) object to the
corrective action prior to dismissal of the earlier protest; (2) file a motion for reconsideration;
(3) file an appeal of judgement in the prior protest; or (4) file a new timely protest. See
Def.’s Br. (Textron) filed Oct. 16, 2006, at 5. As Textron did not take any action, it
“acquiesced in that result” and failed to raise the issue in a timely manner. Id. at 20. It is
apparent that Textron had reservations about the adequacy of the investigation even at that
time, since it filed its own Status Report on June 5, 2006, but at the same time did not
investigate fully when given an opportunity. Accordingly, the court finds that Textron has
waived its right to pursue the issue in this bid protest.

       B. Technical evaluation of offerors’ RB-Ms

      On July 5, 2005, the USCG issued the PEP describing the evaluation process and
procedures for reviewing Marinette’s, Textron’s, and O-Tech’s Phase II proposals. AR
00600. The Source Selection Organization (the “SSO”), the body responsible for procuring
the RB-Ms for the USCG, consisted of four “organizational levels”: (1) the Source Selection
Authority (the “SSA”); (2) the Competitive Acquisition Management Panel (the “CAMP”);



        11/ The court concurs with Cmdr. Doherty that the November 22 e-mail contains
several inaccuracies: (1) “The NPET [Non-Price Evaluation Team] did not rate
subcontractors on the ISM element of the Systems Engineering subfactor,” Doherty Decl. ¶
6.a.; (2) “The NPET did not use a ‘pass or fail’ rating approach. Textron actually received
a ‘Strength’ for the ISM element, not a ‘pass,’” Doherty Decl. ¶ 6.b.; (3) “Using Mr. Proulx’s
terminology, both Marinette and [O-Tech] ‘passed’ the RB-M ILS requirements” because
neither received a disqualifying rating. Doherty Decl. ¶ 6.c. Mr. Proulx was correct,
however, in stating “The company I work for (EDO Corporation) developed a Life-cycle
Logistics management information system (24/7 web portal) that meets all of the ISM
requirements of the USCG RBM RFP.” PX (Textron) 34.

                                                24
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 25 of 82



(3) the Source Evaluation Board (the “SEB”); and (4) the Proposal Evaluation and Analysis
Group (the “PEAG”), which includes the Non-Price Evaluation Team (the “NPET”) and the
Price Evaluation Team (the “PET”). Am-Pro Protective Agency, Inc. v. United States, 281
F.3d 1234, 1240 (Fed. Cir. 2002). AR 00602. The PEAG Co-Chairs were the “conduit
between the SEB and evaluation teams when such transmittal [was] proper.” AR 00603.

        In accordance with section M.4 of the Phase II Solicitation and section D of the PEP,
all offeror’s proposals were evaluated in four technical areas: (1) management; (2) systems
engineering; (3) mission effectiveness; and (4) support. AR 00999, 00603-04. The PEP
directed the NPET to evaluate each proposal based on its individual merit and to “[c]onsider
the portion of the proposal that relates directly to the factor or subfactor being evaluated, but
[] not [to] limit review to that section only. [And to] [c]onsider all information provided in
the proposal . . . as well as independent research and input for consultants.” AR 00619. The
four Non-Price factors were evaluated based on the following subsections:


 Factor                                          Elements
 1. Management                                   a) Organization
                                                 b) Production Capability and Facilities
                                                 c) Planning and Scheduling
                                                 d) Production Labor Force

 2. Systems Engineering                          a) Integrated Systems Approach
                                                 b) Technical Capability
                                                 c) Human Engineering Design
                                                 d) Reliability and Supportability
                                                 e) Maintainability
                                                 f) Design for Lowest Life Cycle Cost
                                                 g) Testing and Validation
                                                 h) Configuration Management
                                                 I) Integrated Systems Model
                                                 j) Risk Management

 3. Mission Effectiveness                        a) Mission Capability
                                                 b) Performance [Range] 12/
                                                 c) Construction
                                                 d) Systems and Equipment



      12/ Performance includes the subfactors of speed, range, maneuvering, and
seakeeping. See Solicitation § L.13.5.6, AR 00991.

                                               25
      Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 26 of 82




 4. Support                                    a) Interim Contractor Logistics Support
                                               (ICLS)
                                               b) Data Tracking
                                               c) Field Support
AR 00618

        The PEP directed each NPET member to evaluate independently each proposal before
meeting other team members. AR 00619-21. Section J instructed evaluators first to identify
and document each proposal’s strengths, weaknesses, significant weaknesses, deficiencies,
and ambiguities. AR 00619. After exploring these factors, the evaluators were required to
identify, evaluate, and document the risks associated with the proposal, taking special care
to “distinguish between [the] risk of unsuccessful contract performance, which would be the
result of a flaw in the proposal and evaluated as a component of a weakness or significant
weakness, and the risk associated with the evaluator’s confidence in an offeror’s ability to
successfully perform the technical effort described.” AR 00620. Subsequent to individual
evaluations, the NPET team members were directed to “generate a consolidated list of
strengths, weaknesses, deficiencies and risks for each proposal based on team consensus.”
AR 00621. From this consolidated list, the NPET was to reach “a consensus of each
proposal’s merits and risks . . . and assign both a technical and risk rating [for each
evaluation factor].” AR 00621.

        Section E of Appendix Three defines the important evaluation terms, as follows: (1)
A “strength” is “[a]n element of the proposal that exceeds a requirement of the solicitation
in a way that is beneficial to the Government;” (2) a “weakness” is “[a] flaw in the proposal
that increases the risk of unsuccessful contract performance;” (3) a “significant weakness”
is “[a] flaw in the proposal that appreciably increases the risk of unsuccessful contract
performance;” (4) a “deficiency” is “[a] material failure of the proposal to meet a
requirement or a combination of significant weaknesses that increase the risk of unsuccessful
performance to an unacceptable level;” (5) a “risk” is “[t]he evaluator’s confidence in an
offeror’s ability to successfully perform the technical effort described in its proposal.” AR
00616.

       In addition to the general evaluation terms defined above, each technical factor was
assigned a “technical rating” of either “blue” (superior), “green” (satisfactory), “yellow”
(marginal), or “red” (unsatisfactory). AR 00617. The PEP defines these terms, as follows:




                                             26
        Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 27 of 82




 Color Code     Adjectival Rating    Definition

 Blue           Superior             Exceeds the requirements in a way which yields
                                     significant benefits to the Government;
                                     weaknesses, if any, are of small impact and NO
                                     significant weaknesses or deficiencies.

 Green          Satisfactory         Meets all requirements; proposal offers no
                                     significant benefits beyond the stated
                                     requirements yet NO significant weaknesses or
                                     deficiencies exist.

 Yellow         Marginal             Fails to meet minimum requirements or has one
                                     or more significant weaknesses. Deficiencies and
                                     significant weaknesses are correctable without
                                     major revisions to the proposal.

 Red            Unsatisfactory       Fails to meet the requirement; one or more
                                     deficiencies for which correction would require a
                                     major revision or redirection of the proposal.
AR 00617.

      Finally, each technical proposal was assigned a risk rating of either “High,”
“Moderate,” or “Low.” E.g., AR 40756; 00617. The PEP defines the risk ratings, as
follows:


 Risk Level        Definition
 High (H)          The proposed approach is likely to cause significant disruption of
                   schedule, increase in cost, or degradation of performance even with
                   special contractor emphasis and close government monitoring.

 Moderate (M)      The proposed approach can potentially cause some disruption of
                   schedule, increase in cost, or degradation of performance. However,
                   special contractor emphasis and close government monitoring will
                   probably be able to overcome difficulties.

 Low (L)            The proposed approach has little potential to cause disruption of
                   schedule, increase in cost, or degradation of performance. Normal
                   contractor effort and normal government monitoring will probably
                   be able to overcome difficulties.
AR 00617.

                                          27
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 28 of 82



        The court must accord an agency’s technical evaluation great deference. As the
Federal Circuit cautioned in E.W. Bliss, 77 F.3d at 449, technical ratings are “minutiae of the
procurement process . . . which involve discretionary determinations of procurement officials
that a court will not second guess.” Id. at 449; see also Advanced Data Concepts, Inc. v.
United States, 216 F.3d 1054, 1058 (Fed. Cir. 2000) (“The arbitrary and capricious standard
applicable here is highly deferential.”). “‘In reviewing [plaintiff's] protest of the agency’s
technical evaluation and decision . . . we will not evaluate the proposal anew, but instead will
examine the agency’s evaluation to ensure that it was reasonable and in accord with the
evaluation criteria listed in the solicitation.’” CCL Serv., 48 Fed. Cl. at 120 (quoting In re
Beneco Enterprises, Inc., 70 Comp. Gen. 574, 576 (1991)).

       The above-discussed factors were evaluated twice in the course of the RB-M
procurement—once in Phase I and once in Phase II. Naval Sea Systems Command
(“NAVSEA”) performed Phase I testing of the RB-M test boats. The purpose of these
evaluations was to “objectively and subjectively evaluate the test craft to define the physical
characteristics and ensure conformance to the purchasing specification.” AR 50260. To
these ends NAVSEA conducted measurements and in-water tests of RB-M prototypes
manned by NAVSEA personnel. E.g., AR 50259. Qualitative evaluation criteria, such as
seakeeping and safety, were evaluated on the basis of crew member comments after the test
runs. AR 50369. Technical data was also compiled, both before and during test runs, to
allow for quantitative analysis of factors such as range, top speed and craft weights. E.g., AR
50107. NAVSEA issued two Phase I test reports.

         Phase II testing was conducted by CDI Corporation (“CDI”). Unlike NAVSEA, CDI
did not rely on in-water tests, but calculated factors, such as range and hull performance,
using technical measurements and computer models. E.g., AR 01062. CDI’s Phase II tests
calculated the effects of material changes to the prototypes proposed after NAVSEA’s Phase
I tests.

        Plaintiffs point to errors in the USCG evaluation of Marinette’s proposed RB-M that
constitute irrational agency action with respect to (1) range, (2) seakeeping ability, and (3)
structural integrity. Plaintiffs also dispute USCG’s technical evaluation of their proposals
on seven different grounds: (1) Plaintiffs contend that the USCG applied an unstated
solicitation requirement to their vessels; (2) Textron disputes the USCG’s evaluation of its
model testing; (3) Textron insists that the USCG irrationally evaluated its scale model test
data; (4) Textron contends that its battery charging system was irrationally assigned a
deficiency; (5) O-Tech argues that the USCG irrationally evaluated the tendency of its vessel
to heel outboard; (6) O-Tech complains that the USCG irrationally and in violation of the
solicitation did not allow it to submit video evidence; and (7) O-Tech argues that the USCG



                                              28
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 29 of 82



irrationally evaluated its engine room access. The merits of each of these arguments are
addressed serially.

       C. Technical requirements of Marinette’s proposed RB-M

              1. Range Requirement

        The Phase II Solicitation requires the USCG to consider each proposed RB-M’s range
capabilities as part of its evaluation of the proposed RB-M’s Performance. AR 00618; AR
00991. The Phase II Solicitation specifies that Performance is an element of the Mission
Effectiveness factor, one of the four non-price areas that the SSA considered when it made
its decision to award the Phase II contract to Marinette. AR 00618; AR 00991. The Phase
II Solicitation states: “The RB-M shall have a range such that it can operate continuously
for at least 250 nautical miles [(“NM”)] at 30 knots starting in the Full Load Condition . . .
with a 10% fuel reserve in calm water.” AR 00875. Plaintiffs argue that the USCG was
unjustified in determining that the Marinette prototype met the RB-M range requirements.
Plaintiffs insist that Marinette’s range calculations were inherently flawed and the USCG’s
decision to rely upon them was against the great weight of testing data. 13/

        Marinette’s ability to meet the USCG’s range requirement has been in question since
Phase I. NAVSEA conducted two sets of tests on all three offerors’ Phase I test boats.
NAVSEA issued two reports on Marinette’s Phase I test boat: the Response Boat–Medium
(RB-M) Acceptance Report–MMC (“Marinette’s Acceptance Report”), issued in July 2004
and the Marinette Marine Corp. Response Boat–Medium Performance Test Report
(“Marinette’s Performance Report”), issued in May 2004. The Phase I NAVSEA tests of
Marinette’s Phase I test boat range capabilities 14/ were inconclusive. NAVSEA reported
two markedly different ranges for the Marinette test boat in the Full Load Condition: [   ]
in Marinette’s Acceptance Report, AR 50182, and [ ] in Marinette’s Performance Report,
AR 50116. The accuracy and support for these range calculations were the focus of
plaintiffs’ attack on the USCG’s determination that Marinette met the range requirement.

      The [ ] figure set forth in Marinette’s Acceptance Report is followed by five pages
of supporting calculations, AR 50116-20; the [       ] figure in Marinette’s Performance


      13/ While “plaintiffs” is used throughout this section, this topic has been advanced
primarily by O-Tech and only seconded by Textron.

      14/ During Phase I tests, NAVSEA collected fuel-burn data that were later used to
determine range taking gauge readings directly measuring the RB-M’s fuel consumption.
AR 50182.

                                             29
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 30 of 82



Report is accompanied only by a single table of supporting data. AR 50182. During briefing
it was discovered that this single table of data in Marinette’s Performance Report is the
underlying support for other unrelated tests conducted during NAVSEA’s performance
testing in Normal Operating Conditions. AR 50117. All parties agree that this data
mistakenly were placed below the [       ] figure. Tr. at 51. Although no party argues that a
range of [    ] can be calculated from the data provided, Tr. at 51, the parties vigorously
contest the implications of this mistake.

        During Phase II, CDI performed an analysis of Marinette’s RB-M range predictions.
Unlike NAVSEA, CDI’s analysis did not utilize data gathered through in-water testing;
rather, CDI examined engine specifications provided by the engine manufacturer. AR 1081-
82. CDI’s calculations resulted in a lower range estimate of [     ], AR 1080-83, but the
relevance of this figure is disputed. 15/

       Despite the earlier testing results, in its initial Phase II proposal, Marinette stated that
the range of its RB-M was [         ] at 31.7 knots. 16/ AR 70217. Emphasizing its concern
with Marinette’s range discrepancies, the USCG assigned the label of “weakness” to
Marinette’s range calculations, AR 71682, and, during discussions, noted that the
“independent analysis does not correspond with the proposal findings.” AR 40007. In its
discussion letter of March 17, 2006, the USCG directed Marinette to provide calculations to
support the range figures that appear in Marinette’s FPR. AR 40007.

       In response to the USCG’s concerns, Marinette submitted data that it compiled during
additional in-water testing of its modified Phase II test boat. 17/ These data demonstrated
a fuel-burn rate of [ ] gallons per hour (“g/h”) at 31.7 knots, resulting in a range of [ ].
AR 401005. Explaining the range difference between the USCG’s independent tests and its


       15/ Marinette contends that because CDI relied on the manufacturer’s propeller fuel
consumption when calculating range, even though the RB-M engines do not utilize
propellers, CDI’s calculations are flawed. AR 1082; Marinette’s Br. (O-Tech) filed Sept. 15,
2006, at 10. Propeller fuel consumption data reflect the amount of fuel consumed when the
engine is driving a propeller. AR 20787-96.

       16/ The administrative record does not contain the final unrevised proposals.

        17/ While a modified version of the Phase I prototype was used for these tests,
Marinette contends that its Phase I and Phase II designs were sufficiently similar to warrant
the test boat’s use. AR 20241. The fuel burn rate was measured at several different RPMs
and speeds “by reading the instruments provided by the engine manufacturer which were
located in the pilot house.” Decl. of David C. Weed, Sept. 14, 2006, ¶ 6.

                                                30
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 31 of 82



own, Marinette, in its response to the USCG’s discussion point, noted that the application of
proper trim control can result in range improvements of [             ]. Marinette submitted
that, if the “[USCG’s independent analysts] did not account for this fact, the difference in
range values that precipitated [the rating of ‘weakness’] is easily explained.” AR 401006;
see supra note 13. As a result of these additional data furnished by Marinette, the USCG
revised Marinette’s range rating by removing the label “weakness” from Marinette’s
prototype proposal. AR 40193.

        Plaintiffs insist that the USCG erred in removing the “weakness” label from
Marinette’s FPR evaluation of range. They contend that Marinette’s range calculations are
flawed and that the Marinette RB-M would be unable to meet the USCG’s range requirement
had proper calculations been made. Even absent the flaws in Marinette’s range calculations,
plaintiffs argue that the USCG improperly relied on data that conflicted with its own Phase
I and Phase II test results.

       Through their expert, Dr. Roderick A. Barr, President and Technical Director of
Hydronautics Research, Inc., plaintiffs argue that Marinette’s range calculation were
understated. See Decl. of Dr. Roderick A. Barr, Aug. 24, 2006, ¶ 2. 18/ Dr. Barr notes that,
contrary to the USCG’s findings, the [      ] fuel consumption rate provided by Marinette in
its testing data, AR 401005, is significantly less than the engine manufacturer’s
specifications, which show a [     ] propeller consumption rate per engine, or a [     ] total
burn rate when both engines are accounted for. AR 20789. See Barr Decl. ¶ 6. Using the
modified fuel consumption rate, as well as the engine manufacturer’s technical data, Dr. Barr
mathematically calculates a revised range for Marinette’s RB-M between [ ] and [ ]—at
least [ ] short of the USCG’s [       ] requirement. See Barr Decl. ¶¶ 2-3, 12-17. Dr. Barr
notes that, in addition to being mathematically correct, his conclusions are in line with the
independent analysis of CDI, which used its own mathematical formulas to arrive at a similar
range for the Marinette prototype. See Barr Decl. ¶¶ 13, 17.

        Dr. Barr concludes that the combination of the lower-than-realistic burn rate and the
assumption of fully optimized trim—an assumption he believes is unrealistic 19/—resulted
in a dramatically higher range calculation by Marinette. See Barr Decl. ¶ 4. He contends that
the Marinette RB-M could meet the USCG’s range requirement only if an extra 26 gallons
of fuel capacity were added. Barr Decl. ¶ 20. Accommodating this additional capacity will


       18/ Defendant and Marinette discredit this statement as unsworn.

        19/ Dr. Barr finds this unrealistic because real-world mission conditions do not allow
for fully optimized trim. However, the Phase II Solicitation only requires a range of 250 NM
in calm waters, not necessarily mission conditions. Solicitation § 051-1.3, AR 00875.

                                             31
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 32 of 82



either require “major change[s] in hull structure” or the addition of an auxiliary tank and the
accompanying pumps and gauges which would also result in “significant changes.” Barr
Decl. ¶¶ 20-21. In light of Dr. Barr’s analysis, plaintiffs insist that Marinette’s data do not
accurately reflect the performance of its test boat and that the USCG acted irrationally in
relying upon this information.

        During oral argument O-Tech argued that the FPR data were irrelevant because they
were obtained at 31.7 knots and not precisely at 30 knots. Tr. at 98-99. Either through the
use of mathematical calculations, in-water tests, or a combination of the two, O-Tech,
Textron, NAVSEA, and CDI—every party except Marinette—arrived at a formula by which
the range, at any given speed, could be estimated. AR 30447, 30166 (O-Tech); AR 10265
(Textron); AR 50116-20 (NAVSEA); AR 01080-81 (CDI). Marinette’s FPR data did not
generate such a calculation. Rather, Marinette simply submitted the data that it gathered “by
reading the instruments provided by the engine manufacturer which were located in the pilot
house.” Decl. of David C. Weed, Sept. 14, 2006, ¶ 6; see also AR 20244-45. Because the
Phase II Solicitation did not stipulate a methodology for data-gathering, this court declines
to find significance in a 1.7-knot difference between the speed at which data were requested
and the speed at which Marinette’s data were recorded.

         Apart from the lack of precise measurements at 30 knots with Marinette’s
calculations, plaintiffs also contend that the USCG acted irrationally in relying on
Marinette’s range calculations. Plaintiffs suggest that the [              ] range estimate in
Marinette’s Acceptance Report cannot be considered persuasive because the report contains
no indication of the underlying data from which the figure was calculated. If the [            ]
figure is disregarded, as plaintiffs argue it should be, the only support for Marinette’s claim
that its RB-M can meet the 250-NM range requirement consists of: (1) the data that Marinette
provided its FPR (the “FPR Data”) in response to the USCG’s assignment of the “weakness”
label to Marinette’s initial Phase II range predictions and (2) Marinette’s explanation that its
RB-M failed to meet the range requirement in previous tests only due to improper trim
control. AR 401005-06. Plaintiffs charge that, in light of the results of the range testing that
occurred throughout the procurement process, it was irrational for the USCG to rely solely
on Marinette’s computer-collected data in determining Marinette’s RB-M’s range.

       Defendant and Marinette take markedly different views of the RB-M evaluation
process. Essential to their arguments is the notion that the FPR Data can stand alone and that
the FPR Data demonstrate that Marinette’s RB-M meets the range requirement. Marinette
reminds the court that the USCG was not required to rely solely upon the reports of its
analysts. See Solicitation § L.12.2.4.1, AR 00985 (allowing for inclusion of test-run data).
To the contrary, as part of its Phase II proposal, each offeror was required to provide
“calculations or other documentation, as needed” to “fully support the proposed RB-M’s

                                              32
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 33 of 82



capability to conduct the required missions.” AR 00990 (quoting Phase II Solicitation §
L.13.5.1).

       Marinette also points to section L.13.1.3 of the Phase II Solicitation, AR 00987, which
encourages potential contractors to make use of, inter alia, “calculations” to improve the
readability of the proposals, and section L.12.2.4.1, which states that “[s]upporting
documentation, including calculations, manufacturer’s cut sheets, and test results, shall be
provided as required,” AR 00985, as further evidence that not only were supplemental
calculations and outside testing proper additions to a proposal, but, once added, they
constituted legitimate sources of information for the USCG evaluation teams. See Tr. at 211-
15.

       Defendant and Marinette emphasize that, with the exception of the contested
NAVSEA range estimates, see AR 50182, the figure generated from the FPR Data was the
only such calculation based on actual, computer-collected fuel burn measurements, Tr. at 57-
58, as opposed to the manufacturer’s “cut-sheet” data. See Barr Decl. ¶ 8; AR 1082, AR
20787-96. Both defendant and Marinette argue the calculations based on “cut-sheet” data,
are wholly irrelevant because they do not display water-jet fuel consumption, the selected
method of propulsion for the RB-Ms. See AR 00903. Defendant and Marinette posit that
the fact that the USCG elected to grant more consideration to the FPR Data than the other
data collected throughout the procurement process was a matter of discretion and does not
evidence an irrational or arbitrary decision. Tr. at 20.

        Defendant and Marinette also contend that, despite plaintiffs’ strong rebuttal, the data
collected during Marinette’s Acceptance Tests, resulting in a range calculation of [          ],
are relevant. They contend that those data conclusively demonstrate that Marinette’s RB-M
is capable of meeting the USCG’s range requirements. As noted above, neither Marinette
nor defendant argues that the Marinette’s Acceptance Report contains the underlying data
and calculations to support the range estimate of [          ]. Nevertheless, defendant and
Marinette reason that the lack of support for the [      ] figure does not make the estimate
irrelevant. Tr. at 49-50. In their view the figure from Marinette’s Acceptance Report is
extremely reliable because, similar to the FPR Data, it was taken from direct measurements.
AR 50182; Tr. at 47-52. Defendant and Marinette characterize the incorrect underlying data
in Marinette’s Acceptance Report as an oversight or mistake that does not taint the figure
presented in the report. Tr. at 51.




                                              33
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 34 of 82



        Marinette argues that differences between the FPR Data 20/ and plaintiffs’ contentions
that the Marinette test boat cannot meet the range requirement are reconcilable. According
to Marinette, the [    ] figure from Marinette’s Performance Report, AR 50116, is based on
tests where the proper trim control was not applied. Tr. at 217. 21/ Marinette contends that
the RB-M would have achieved an improvement in range of [ ] bringing the prototype’s
range above the 250-NM requirement. See AR 401005-06.

       Marinette accounts for the discrepancy between the FPR Data and the range figures
of Dr. Barr and CDI by arguing that they both committed the same error while applying the
same method for determining range. Def.’s Br. (O-Tech) filed Sept. 22, 2006, at 8. CDI and
Dr. Barr calculated the range of Marinette’s prototype from the RB-M’s fuel consumption.
Barr Decl. ¶ 9; AR 1082 (CDI). They obtained the fuel consumption data from the engine
manufacturer’s “cut-sheet,” or engine specifications. Barr Decl. ¶ 8; AR 01082 (CDI).
These specifications provided only propeller fuel consumption data—the amount of fuel
consumed when the engine is driving a propeller. AR 20787-96. Dr. Barr and CDI used this
data to calculate their range estimates. Barr Decl. ¶¶ 8-10; AR 01082 (CDI). Marinette
makes the distinction that, in accordance with the USCG’s specifications, its RB-M is
propelled by water-jets, not propellers. AR 00903. “[D]ue to the potentially greater
efficiency of a water-jet at theses speeds, it is quite likely that the actual fuel burn rate would
be less than indicated by the manufacturer’s data for ‘propeller fuel consumption.’”
Marinette’s Br. (O-Tech) filed Sept. 15, 2006, at 10. 22/


       20/ While the same arguments theoretically would apply to the data issued by
NAVSEA in Marinette’s Acceptance Report, Marinette focuses on the FPR Data as more
relevant to the USCG’s final decision.

       21/ Plaintiffs adamantly oppose the assertion that no trim was applied. They argue
that, because the NAVSEA test procedures state that “static and dynamic trim was
determined,” AR 50112, some trim must have been applied to the RB-M during NAVSEA
testing. Tr. at 241.

       Defendant counters that, while trim tests may have been conducted, the NAVSEA test
in question was conducted without trim tabs, and thus the [ ] estimated increase in range
remains relevant. Tr. at 238-39.

       22/ While Marinette asserts that water jets consume less fuel than propellers, the
engine manufacturer provides no data for water jet propulsion. Marinette relies on its expert,
George L. Petrie who states, “the engine must work harder when attached to a propeller to
achieve and maintain a given RPM than it must do when attached to a water jet,” and goes
on to connect the harder “work” with a higher fuel consumption. Suppl. Decl. of George L.

                                                34
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 35 of 82



       Defendant, through its own engineering expert, David M. Shepard, PE, 23/ echoes
Marinette’s concerns over Dr. Barr’s range calculations. Specifically, Mr. Shepard notes that
direct measurement of the fuel consumption of an engine while it is powering a specific
boat—the technique used by Marinette to collect its FPR Data—is a far more accurate means
of obtaining the fuel consumption data required to calculate range, compared to reliance on
the manufacturer’s data—the method used by Dr. Barr. See Decl. of David M. Shepard, PE
Oct. 16, 2006, ¶ 7. Specifically, Mr. Shepard notes the manufacturer’s data “do[] not
represent the actual conditions, do[] not apply to boats propelled by waterjets, and do[] not
provide the most accurate means of determining fuel consumption.” Shepard Decl. ¶ 11. In
fact, Mr. Shepard declares, the manufacturer’s data are most relevant for “heavy, slower
craft” and not craft similar to the RB-M. Shepard Decl. ¶ 11. “The bottom line is that,
despite Dr. Barr’s concerns, [Marinette] provided a rational methodology for determining the
range of its proposed RB-M, and the evaluation team reasonably and correctly found that the
range met the requirements.” 24/ Shepard Decl. ¶ 14.

        In resolving this dispute, the big picture plays a role. If everything plaintiffs allege
regarding range is correct, the court would be presented with the following scenario. The
[       ] figure would be considered irrelevant, leaving the [          ] figure in Marinette’s
Performance Report as the only remaining range calculation from Phase I. See AR 50116.
The Phase II analysis, providing the [        ] figure, AR 01080, would also remain relevant.
Dr. Barr’s calculations, while not revealing any new information, would bolster NAVSEA’s
and CDI’s range calculations in both Phases of testing. Marinette replies by offering its FPR
Data, as well as its explanation, as to why they differ from the other data collected and the
fact that the Phase II Solicitation permitted its reliance on these data.




       22/ (Cont’d from page 34.)

Petrie, Oct. 15, 2006, ¶ 8. O-Tech’s expert challenges this point, arguing that propeller and
water jet fuel consumption are roughly analogous. Suppl. Decl. of Dr. Roderick A. Barr,
Oct. 9, 2006, ¶¶ 8-10.

       23/ In addition to serving as a USCG expert, Mr. Shepard was co-author of the RB-M
specifications and Co-Chair of the Proposal Evaluation and Advisory group.

       24/ Mr. Shepard also disputes Dr. Barr’s contention that, even if Marinette’s RB-M
was unable to meet the USCG’s range requirements, major modifications would be required.
Mr. Shepard opines that raising the top of the fuel take two inches would accommodate any
extra fuel required. Shepard Decl. ¶ 15.

                                              35
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 36 of 82



       As noted earlier, in applying the arbitrary and capricious standard of review, the
court’s role is not to question the wisdom of the USCG. Bannum, 404 F.3d at 1351. Instead,
the court may only consider whether the agency’s actions lack a rational basis. Id. In the
context of a negotiated procurement, this is achieved by determining whether the agency can
offer “‘a coherent and reasonable,’” explanation for its actions. Garufi, 238 F.3d at 1332
(quoting Saratoga Dev. Corp., 21 F.3d at 456).

        Even taking the position most favorable to plaintiffs, i.e., that all of their assertions
regarding range are correct, the court cannot conclude that plaintiffs have met their burden
of proof. The USCG was justified in asking Marinette to provide additional calculations to
support its range estimate. “While the SSA may use reports and analyses prepared by others,
the source selection decision shall represent the SSA’s independent judgment.” FAR 15.308.
The court finds that the USCG considered the data submitted by Marinette that was
contemplated by the Phase II Solicitation and rationally eliminated the weakness label from
its evaluation of Marinette’s FPR. The court finds that the USCG was justified in relying on
Marinette’s range predictions. The USCG’s range determination is not arbitrary and
capricious simply because Marinette’s range estimate is greater than the range estimates
submitted by NAVSEA and CDI, given he option provided by the Phase II Solicitation to
submit computer-generated readings.

              2. Seakeeping

        Plaintiffs contend that Marinette’s proposed RB-M is incapable of meeting the USCG
Phase II Solicitation seakeeping and safety requirements and that the USCG erred by not
disqualifying Marinette on this basis. The seakeeping requirement, contained in section 051-
2.2 of the Phase II Solicitation, requires that the RB-M must be

       safe and controllable at all speeds up to the maximum attainable speed and
       under all specified loading conditions . . . . Safe and controllable operation
       shall constitute operation where craft orientation, motions and accelerations do
       not pose a hazard to the crew or passengers and the required course can be
       maintained.

AR 00875. Section 088-3.1 and 088-4.1of the Phase II Solicitation provide the safety and
hazard requirements for the RB-M:

             088-3.1 The RB-M system capability shall be such that system safety
       hazards associated with materiel shortcomings and impact on systems and
       human performance for all conditions . . . are identified and eliminated or
       reduced to acceptable levels through engineering design and manufacture.

                                               36
      Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 37 of 82



              088-4.1 The RB-M system capability shall be such that health hazards
       associated with, but not limited to, mechanical forces including shock and
       vibrations; . . .are identified and eliminated or reduced to acceptable levels.

AR 00889.

        The Phase I NAVSEA crew comments reported an overall positive experience riding
in Marinette’s test boat. In reporting its test boat’s seakeeping ability, the NAVSEA report
stated:

               Crews enjoyed the seakeeping capabilities of this boat. One crew
       member said, ‘The boat cuts right through the sea state.’ Another said, ‘it’s
       amazing how well this boat operates in today’s sea state. Nothing in today’s
       Coast Guard operates like this boat.’ They all felt it was very comfortable in
       all sea states tested.

AR 50383. Despite the positive feedback Marinette received regarding its seakeeping ability,
the NAVSEA test crews noted that the ride in Marinette’s test boat passenger compartment
and deck could pose safety concerns. Specifically, the NAVSEA crew comments reported:

              In any sea condition other than flat calm, the passenger compartment
       was very uncomfortable due to the lively ride. Most passengers will elect to
       stay on deck or wedge themselves in the cabin. Passengers on deck in speeds
       >20kts were unsafe and ejection of passengers was a major concern.

AR 50385.

       CDI Technical Memorandum #807.001-22, which evaluated Marinette’s initial Phase
II proposal, stated that it could not identify any changes made by Marinette to address the
Phase I concerns with the uncomfortable ride quality in the passenger compartment of
Marinette’s test boat. AR 01085, 01087. The CDI report concluded its discussion of
passenger compartment safety concerns by noting that

       accelerations will likely continue to be high in the passenger compartment
       given its forward location in the boat.

              The utilization of the interceptor system to optimize trim angle in
       seaway conditions can manage the severity of the ride to some degree.
       However, this capability was also available on the test boat, and crew still
       noted the uncomfortable ride in the forward compartment and the potential for

                                             37
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 38 of 82



       ejection of passengers or personnel outside of the cabin while underway in
       rough seas.

AR 01088.

       In its FPR Marinette responded to the concerns regarding the vertical acceleration
measurements in the passenger compartment 25/ by stating that it would rework the cabin
seating arrangement to provide for more secure handholds and “better placement of
individuals occupying the space.” AR 20232. It made clear, though, that the design and
nature of the craft restrained it from completely eliminating the risk of passenger ejection:
“Due to the craft[’]s speed and maneuverability, it is possible to eject passengers from the
deck at higher speeds. The [General Information Book] for the production craft will clearly
address this risk, and provide instructions for mitigating this hazard.” AR 20232; see also
AR 20424.

       Plaintiffs contend that the concerns raised in the NAVSEA crew comments and CDI
evaluation about the ride in Marinette’s RB-M show that Marinette’s FPR does not meet
the USCG’s Phase II Solicitation requirements. Consequently, plaintiffs press the view that
the USCG should have assigned Marinette a “red” rating, thereby disqualifying it from the
competition. Specifically, O-Tech takes issue with the vertical accelerations measured during
NAVSEA tests in two positions on the boat: (1) the Coxswain’s Station (the helm) and (2)
the Passenger Compartment. It is O-Tech’s contention that vertical accelerations measured
in these locations demonstrate both a significant risk of ejection and the potential for severe
discomfort.

        O-Tech, through its expert in naval architecture Dr. Barr maintains that vertical
acceleration in the identified positions exceeds “acceptable” measurements when compared
to International Standards Organization (“ISO”) recommended limits. Barr Decl. ¶ 7.

       Dr. Barr found that at both the Coxswain’s Position and in the Passenger
       Compartment, NAVSEA measurements show vertical accelerations reach the
       limit for severe discomfort due to seasickness in one-half hour or less. The
       exposure limit will be reached in one hour in the Passenger Compartment,
       even in moderate seas, and 2.5 hours in the Coxswain’s Position.




     25/ “Vertical acceleration” is one of the quantitative measurements chosen by the
USCG to assess the ride of the RB-M.

                                              38
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 39 of 82



O-Tech’s Br. filed Aug. 25, 2006, at 11(citing to Barr Decl. ¶¶26-29). Because the
Coxswain’s Position must be manned at all times, the vertical acceleration measured at that
location is problematic, in Dr. Barr’s opinion. Id. ¶ 7.

       With respect to the risk of ejection, defendant and Marinette contend that plaintiffs
have overstated the examiners’ concern characterizing O-Tech’s assertions as “sheer
hyperbole.” Def.’s Br. (O-Tech) filed Sept. 22, 2006, at 10. Defendant notes that, at speeds
greater than 20 knots, the risk of ejection is present in all small boats and that the deck of the
RB-M is not intended to be a passenger area. See Decl. of George L. Petrie, Sept. 14, 2006,
¶ 9. Both parties also question the applicability of determinations made from NAVSEA’s
vertical acceleration data. In particular, Marinette notes that “[t]hese accelerations are of
extremely short duration, are typical of small craft operating at high speeds in heavy seas, and
are not likely to result in ejection.” Marinette’s Br. (O-Tech) filed Sept. 15, 2006, at 14.
Marinette goes on to state that such accelerations are mitigated easily by “flexing the knees,”
Marinette’s Br. (O-Tech) filed Sept. 15, 2006, at 14, and, further, that the crew concerns
over ejection were addressed in the initial Phase II proposal by the inclusion of “more secure
handholds.” Id. at 16; AR 72238. Finally, regarding Dr. Barr’s specific analysis of
Marinette’s vertical acceleration and the risk of ejection, Marinette observes that the
acceleration figures used by Dr. Barr were measured during moments of downward
acceleration, i.e., when the boat makes contact with the water, and that at no point did the
upward acceleration—presumably the type more likely to eject someone—ever reach such
extreme levels. Petrie Decl. ¶ 9.

        In addressing O-Tech’s claims concerning the discomfort experienced by individuals
in the Passenger Compartment of Marinette’s test boat, both defendant and Marinette
respond that the Phase II Solicitation does not require that the boat be comfortable. See AR
00875. Defendant asserts that Marinette addressed concerns over the RB-M’s comfort by
“propos[ing] changes in the compartment’s seating arrangement, and handholds, in its FPR.”
Def.’s Br. (O-Tech) filed Sept. 22, 2006, at 10 (citing AR 20232). Defendant further
suggests that Dr. Barr’s analysis is “irrelevant” to the extent that it relies on data collected
from instruments attached directly to the RB-M’s hull, thus not considering any beneficial
effect that the boat’s shock-mitigating seats might exhibit. Def.’s Br. (O-Tech) filed Sept.
22, 2006, at 10.

        Defendant further reminds the court that vertical acceleration, and the concerns raised
thereby, is not an independent criterion for evaluating the RB-M. Instead, it is one aspect of
the broader evaluation of maneuvering and seakeeping, which, in this procurement, is
assessed in its entirety. AR 00991, AR 00886. Defendant argues the court would have to
(1) disregard the agency’s discretionary trade-off determination, and (2) find that the entire



                                               39
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 40 of 82



“maneuvering and seakeeping” evaluation hinges upon one specific characteristic, in order
to sustain plaintiffs’ position. Def.’s Br. (O-Tech) filed Sept. 22, 2006, at 11.

        Marinette generally echoes defendant’s arguments regarding plaintiffs’ position on
vertical acceleration. Marinette adds that the NAVSEA testing crews were capable of
describing what they consider to be a boat that did not meet the safety and seakeeping
specifications. Marinette points to NAVSEA’s evaluation of Textron’s RB-M, which was
described as “unsuitable for [the USCG] use due to the punishing ride” and likely to “create
health problems for its occupants.” AR 50472. Marinette argues the NAVSEA crew’s use
of less severe language in describing Marinette’s test boat indicates that the crew did not
consider its lack of comfort serious enough to warrant disqualification.

       It is plaintiffs’ burden to demonstrate that the USCG acted irrationally by not
assigning a disqualifying rating to Marinette’s FPR for maneuvering and seakeeping.
Bannum, 404 F.3d at 1351. At best, plaintiffs have shown that, had the USCG chose to
weigh the individual factors of seakeeping and maneuverability differently, it might have
reached a different result. The weight attached to individual factors, however, is not for this
court to determine. To the contrary, that matter reposes within the discretion of the USCG,
and, accordingly, the court defers to the USCG’s exercise of its judgment. The record
demonstrates that the USCG had a rational basis for reaching its decision with respect to
maneuvering and seakeeping.

              3. Structural integrity

        Textron contends that the USCG ignored a “serious structural integrity issue[]” in
Marinette’s proposed RB-M design. Textron’s Br. filed Aug. 25, 2006, at 4. It disparages
Marinette’s choice to interrupt its structural support beam with an engine access hatch that
compromises the structural integrity of Marinette’s vessel. “Had [the] USCG properly
evaluated Marinette’s proposal, and identified structural integrity as a concern, Marinette
would have received a deficiency in the area of Construction, rendering it ineligible for
award.” Id. at 4. Textron relies on Prof. Alaa Mansour, who declares that “[t]he absence of
a continuous center longitudinal girder significantly reduces the amount of material available
to support the loads and stresses to which the vessel will be subjected.” Decl. of Alaa
Mansour, Aug. 25, 2006, ¶ 31. The shortage of material available for support presumably
creates a danger that the vessel will lack adequate torsional stiffness, which may result in hull
distortion or a concentration of stress at the corners of the engine, access hatch, or pilot
house, potentially causing the deck to crack. Mansour Decl. ¶¶ 32-34. As a result of these
alleged deficiencies, Prof. Mansour predicts that Marinette’s vessel will develop fatigue
cracks that will “impair the structural integrity of the Marinette design.” Id. ¶ 36.



                                               40
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 41 of 82



        The court cannot verify the accuracy of Prof. Mansour’s opinions. As Marinette
correctly points out, Prof. Mansour’s sole support for his analysis is a vague statement
declaring that he reviewed “portions of the administrative record related to the structural
integrity of [Marinette’s] design. In particular [Prof. Mansour] reviewed relevant portions
of Marinette’s proposal, as well as the structural integrity analysis conducted by CDI.”
Mansour Decl. ¶ 6. Prof. Mansour and Textron fail to provide any data, calculations, or other
information to explain how he reached his conclusions. This lack of support frustrates the
court’s evaluation of Prof. Mansour’s proffered evidence and cannot constitute the basis for
a finding that Marinette’s proposed RB-M suffered from any structural integrity deficiencies,
or the basis to cite the NPET for not recognizing the purported deficiency. Plaintiffs bear the
“heavy burden” of proving that the USCG acted irrationally by a preponderance of the
evidence. Garufi, 238 F.3d at 1333. The court should defer to the agency’s analysis so long
as it has substantial basis in fact. See Fed. Power Comm’n v. Florida Power & Light Co.,
404 U.S. 453, 463 (1972); Camp v. Pitts, 411 U.S. 138, 142-43 (1973); In re Sang Su Lee,
277 F.3d at 1344; see also CCL Serv., 48 Fed. Cl. at 120. Textron’s submission of a
declaration bereft of citation or support in the administrative record does little to further its
cause.

      In contrast, defendant and Marinette’s experts provide a detailed and methodical
explanation for the USCG’s analysis and decision. David C. Weed, Marinette’s expert and
one of the principal designers of Marinette’s Phase I and Phase II RB-M, explains how
Marinette’s RB-M meets the Phase II Solicitation requirements. See Weed Decl. ¶¶ 4-11.
Mr. Weed states, in part:

              The structural design was developed using Lloyds Register Special
       Service Craft Rules, an internationally accepted mature set of structural design
       standards. These standards are perhaps the most onerous of the main
       Classification Society rules when applied to this type of craft . . .

               Software provided by Lloyds is used to analyze compliance with these
       standards, as each component in the structural network has an impact on
       others. This analysis is shown in Appendix H of Marinette’s proposal
       (Marinette Final Proposal Revision, Technical Book 2 of 4, Appendix H) . . .
       The RB-M overall structure can be considered both as a global and a local
       structure. The local structure provides the support for shell plating and resists
       distortion, while the global structure resists the overall loads imposed on the
       craft and helps resist the bending and twisting.

Weed Decl. ¶¶ 5, 7. Defendant’s expert Mr. Shephard undermines Prof. Mansour’s opinion
regarding the need for a “continuous longitudinal girder.” Mr. Shepard states that “[i]t is

                                               41
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 42 of 82



very common NOT to have a continuous beam running the length of the main deck on
centerline. There are numerous examples of this in the [USCG’s] own inventory of boats.”
Shepard Decl. ¶ 18. Mr. Shepard then cites to three vessels without continuous longitudinal
girders that have been in the USCG’s fleet since 1973, 1990, and 1977, respectively. Id. ¶
18a-c.

        Perhaps the most extraordinary aspect of Textron’s position is that its own proposed
RB-M has two deck hatches interrupting the longitudinal girder running the length of its
deck. See AR 12209. If the lack of a continuous centerline were a genuine problem, as Prof.
Mansour contends, then both Textron and Marinette should have been assigned disqualifying
ratings. Instead, the USCG penalized neither offeror for the interruption of the longitudinal
girder.

      Finally, Textron’s contention that the USCG failed to evaluate Marinette’s RB-M is
completely without merit. The USCG addressed the structural integrity of Marinette’s vessel.
As Mr. Shepard states:

               In the case of [Marinette], their proposal provided a narrative describing
       [its] hull structure and indicating how it was based on the successful design
       used for the Test Boat [Proposal Section 4.7, AR 20248-20250] and then
       further supported this with drawings [Proposal Appendix K, AR 20809-20812]
       and calculations [Proposal Appendix H, AR 20721-20779] that show that the
       proposed boat fully complies with the structural requirements. [Spec 100-1,
       AR 00893]

              The NPET appropriately concluded that there were no significant issues
       with regard to the proposed structural design of [Marinette’s] boat. This was
       not noted in [the] NPET report since compliance with requirements does not
       generate a Strength, Weakness, Significant Weakness or Risk as defined by the
       PEP [AR 00619-00620].

Shepard Decl. ¶¶ 22-23 (record citations in original).

       The evaluation of the structural integrity, although not discussed in any detail, was
noted on the NPET’s Evaluation Worksheet, consistent with the PEP instructions. AR
40169. Furthermore, Marinette’s FPR indicates that significant testing was conducted by the
USCG during Phase I: “Throughout the Builder trials and USCG test program, the Prototype
structure exceeded all the requirements of the specification. . . . [A]part from the production
driven changes there is no substantial difference between the structural design requirements
of the Prototype and the production craft.” AR 20248. Because Marinette did not make
significant changes to its RB-M between Phase I and Phase II, as all parties have agreed, the
USCG was justified in relying on Phase I prototype test results and other information


                                              42
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 43 of 82



contained in Marinette’s RB-M proposal. Thus, the USCG satisfied its obligation to provide
a “coherent and reasonable explanation” of its evaluation of Marinette’s Phase II proposal.
Garufi, 238 F.3d at 1332 (quoting Saratoga Dev. Corp., 21 F.3d at 456).

       D. Evaluation of plaintiffs’ proposed RB-Ms

              1. Unstated Solicitation Requirement

       Plaintiffs assert that the USCG applied an “unstated solicitation requirement” to their
respective proposals, requiring offerors to produce a full-scale prototype or submit data from
the result of prototype testing, a requirement not stated in the Phase II Solicitation. See O-
Tech’s Br. filed Aug. 25, 2006, at 12; Textron’s Br. filed Aug. 25, 2006, at 18. They take
the position that Marinette’s ability to rely on test data gave Marinette an unfair and
inequitable advantage over the other offerors.

         The Competition in Contracting Act, 10 U.S.C. § 2305(a)(1)(A) (2000), requires
solicitations for competitive proposals to include “all significant factors and significant
subfactors which the head of the agency reasonably expects to consider in evaluating . . .
competitive proposals . . . and the relative importance assigned to those factors and
subfactors.” 10 U.S.C. § 2305(a)(2)(A)(I) (2000); see also, FAR 15.304(d) (restating quoted
language). “It is hornbook law that agencies must evaluate proposals and make awards based
on the criteria stated in the solicitation.” Banknote Corp. of America, Inc. v. United States,
56 Fed. Cl. 377, 386 (2003), aff’d, 365 F.3d 1345; see also Alfa Laval, 175 F.3d at 1368.
“It is fundamental that offerors must be advised of the bases upon which their proposals will
be evaluated. Therefore, an evaluation based on unstated minimum requirements is
improper.” In re Omniplex World Serv. Corp., B-290996.2 2003 CPD ¶ 7 at *3 (citations
omitted); see also In re Kumasi Ltd./Kukawa Ltd., B-247975.7, 93-1 CPD ¶ 352.

        A full understanding of plaintiffs’ allegations requires a detailed explication of the
RB-M procurement process. As previously discussed, during Phase I, Marinette, Textron,
and O-Tech were awarded contracts to build test boats, which were tested by the USCG’s
Mission Effectiveness Team. AR 00701. Crew comments were provided from NAVSEA’s
in-water testing. AR 00991. The Phase II Solicitation, which was issued pursuant to a
Justification for Other Than Full and Open Competition invited Marinette, Textron, and O-
Tech to compete for the award of the Phase II contract, which included the option for
production of up to 180 boats, as well as various technical and support services to be
provided over a period of up to eight years. AR 00586, AR 01663. The Phase II Solicitation
changed some of the design specifications from Phase I, including increasing the beam width
from fourteen to fifteen feet. Compare AR 5003 with 00876. Phase II also allowed offerors
to redesign their RB-Ms and to make changes based on the USCG’s evaluation and crew

                                             43
      Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 44 of 82



comments. See AR 00991 (requiring each offeror to submit copies of Mission Effectiveness
and Supportability Phase Report for its RB-M test boat and respond to every item).

        Both O-Tech’s and Textron’s Phase I test boats manifested serious technical
shortcomings that the USCG Mission Effectiveness Team identified during the Phase I
evaluation. AR 01223; see AR 30293 (O-Tech Proposal listing Phase I crew comments and
its proposed changes for Phase II); AR 30297 (same); AR 50464 (Mission Effectiveness and
Supportability Phase Report on Textron’s Phase I test boat). For example, Textron’s Phase
I Mission Effectiveness and Supportability Phase Report reflects that the USCG test teams
found problems with the seakeeping ability of Textron’s test boat, including a tendency to
“spin out,” limited visibility from the helm, noise, and access to the engine. AR 50464.
Likewise, O-Tech’s prototype had difficulty meeting the Phase I Solicitation speed
requirements, and the test crews reported that the vessel’s hull suffered from
“flexing/twisting” in choppy sea conditions. AR 50424.

       As a result of the problems identified by the test crews, both O-Tech and Textron
submitted Phase II proposals that differed significantly from their Phase I prototype boats.
As CDI Technical Memorandum #807.001-4 indicates, O-Tech made changes to the overall
beam and demi-hull beam, refined bow lines, and modified the propulsion system to include
a new propulsion engine make/model. AR 01203. Some of the design changes proposed in
Textron’s FPR included “[r]evising the hull shape for improved seakeeping and ride quality;
[e]nlarging the deckhouse for improved human factors and self-righting buoyancy;
[a]ccommodating weight growth for improvements such as additional insulation for noise
reduction, the Series 60 Engines, and heavier bottom plating.” AR 10213.

       The Phase II Solicitation did not require offerors to build a full-scale test boat or
submit data from a full-scale prototype, although section M.4.3 of the Phase II Solicitation
informed offerors that the USCG would evaluate all of the information provided in their
proposals. “When conducting the evaluations, the Government will consider data provided
by the Offeror in the proposal. The evaluation of all factors will also assess the risk
associated with the proposal.” AR 01000 (emphasis added). Section L.12.1.6 of the Phase
II Solicitation required offerors to produce a paper proposal including “convincing
documentary evidence” relating to any promise of performance. AR 00983. Offerors were
required to include the Mission Effectiveness and Performance Test Reports from the in-
water testing of the Phase I prototype and to discuss, as part of their FPR proposals, any
deficiencies or weaknesses discovered in the earlier rounds of prototype testing. AR 00991.
The USCG encouraged offerors to “make reference to the results of the Test Boat evaluations
[and] [p]rovide calculations or other documentation, as needed, to support the narrative.” AR
00990.



                                             44
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 45 of 82



        As part of the evaluation process, the USCG verified the reliability and accuracy of
the information that each offeror presented in support of its proposal. Defendant evaluated
Marinette’s, O-Tech’s, and Textron’s testing methods and concluded that plaintiffs’ testing
methods were not convincing. In contrast, in its decision letter dated June 21, 2006, the
USCG found Marinette’s proposal and supporting data persuasive. AR 40441-42. The
USCG’s confidence in Marinette’s proposal stemmed, in part, from Marinette’s ability to rely
on its Phase I test boat, which was “recognized during the Prototype testing period for its
superior handling, control, and sea keeping performance.” AR 20224.

        Both O-Tech and Textron argue that the USCG implicitly applied an unstated
solicitation requirement in evaluating their proposals, because only Marinette was able to rely
on its Phase I test boat. The court disagrees. As defendant argues its reply brief, Textron,
O-Tech, and Marinette all had the same three options when submitting their Phase II
proposals: “(1) [S]ubmit a Phase II proposal based closely on their Phase I boat; (2) submit
a Phase II proposal based on a design that varied materially from their Phase I design; or (3)
decline to submit a Phase II proposal.” Def.’s Br. (Textron) filed Oct. 16, 2006, at 2.
Marinette’s choice to utilize a design that did not change substantially from its Phase I design
was a predictable result of its superior performance in Phase I. In contrast, O-Tech and
Textron faced a more difficult business decision in preparing their Phase II proposals because
their test boats had not performed as well as Marinette’s boat.

        As defendant points out, “Textron could have adopted a similar approach for its Phase
II design, but opted for a more substantial redesign, because serious shortcomings were
identified in several important areas during the [USCG’s] Phase I evaluation.” Def.’s Br.
(Textron) filed Sept. 22, 2006, at 20; see also Def.’s Br. (O-Tech) filed Sept. 22, 2006, at 13
(similar but with respect to O-Tech, also stating, “O-Tech knew—or should have
known—that, because of this departure from its Phase I design, it had a bigger burden when
it came to convincing the [USCG] that its Phase II proposal would meet the contract
requirements”).

      Both plaintiffs quote selectively from the administrative record to demonstrate that
the USCG somehow imposed an unstated requirement. 26/ Moreover, plaintiffs argue that



        26/ For example, O-Tech quotes from a section of its Post-Award Debriefing, which
states, in part:

       The proposal indicates hydrodynamic ‘tuning’ was performed on the Phase I
       Test Boat to improve performance, however, the significant changes to the
       proposed design reduce[] confidence in the applicability of the results. The
       significance of the changes which are not proven through previous testing
       indicates significant Contractor emphasis and government monitoring will be
       required . . . .

                                              45
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 46 of 82



the USCG’s evaluation of their alternative testing methods was flawed and that the USCG
ignored information contained in their proposals. Textron takes the position that the USCG
improperly evaluated its model testing, and O-Tech argues that the USCG irrationally



       26/ (Cont’d from page 45.)

O-Tech’s Br. filed Aug. 25, 2006, at 14 (quoting AR 40775) (alteration in original). O-Tech
then argues, based on this passage, that the phrase “not proven through previous testing”
indicates that the USCG faulted it for not proving its design through prototype testing. Yet,
other passages within the same document explicitly criticize O-Tech for failing to prove its
design predications by any testing method, not for failing to provide prototype testing. For
example, the RB-M Project Debriefing of O-Tech stated: (1) “The proposal does not provide
any information regarding how the unique hydrofoil can be supported;” (2) “Although the
information provided in this discussion indicates outboard heel may not occur, the lack of
concrete data within the proposal (in the form of test data from; the modified test boat: or test
data from model testing of similar designs: or actual full scale data from similar full scale
boats in the field; or conclusive calculations of the inboard & outboard heeling moments of
this design) does not support their claim;” (3) “The proposal fails to provide detailed
information concerning the design and performance characteristics of the hydrofoil;” and (4)
“The proposal provides a generic description of the basic physical characteristics of the
hydrofoil . . . [h]owever, no analysis or calculations are provided to verify the structural
adequacy of the hydrofoil, the attachments, and the supporting structure.” AR 40770-72.
Taking the document as a whole, it becomes evident that the USCG’s critique focused on the
lack of convincing evidence within O-Tech’s proposal and not a lack of prototype testing,
as O-Tech contends.

       Textron also culls quotes selectively from the administrative record. For example,
Textron quotes the USCG as stating, “‘[R]eliance on model testing alone is not sufficient to
mitigate the unknown effectiveness of the proposed new hull lines.” Textron’s Br. filed Aug.
25, 2006, at 19. Yet, as defendant argues in its brief, the quoted language is taken out of
context. Def.’s Br. (Textron) filed Sept. 22, 2006, at 20. The full quotation reads:

       Given the amount of concern generated during the phase one testing, reliance
       on model testing alone is not sufficient to mitigate the unknown effectiveness
       of the proposed new hull lines. Additionally, independent analysis of the
       towing tank model and the free flight models test series uncovered two major
       flaws.

AR 90609.

                                               46
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 47 of 82



evaluated the tendency of its proposed vessel to heel outboard. The merits of these technical
disputes are addressed below. In both cases, however, the administrative record shows that
the USCG fully considered and evaluated the test data that plaintiffs submitted.
Unfortunately for plaintiffs, the alternative testing methods failed to persuade the USCG that
their proposed vessels met the Phase II Solicitation requirements.

        While O-Tech and Textron attempt to characterize Marinette’s ability to rely on Phase
I test data as an unstated solicitation requirement, the court agrees with defendant that the
essence of plaintiffs’ challenge goes to the “basic approach to this acquisition.” Def.’s Br.
(Textron) filed Oct. 16, 2006, at 3. Challenges to the underlying acquisition process at this
stage of the procurement are no longer proper. This court recently had two occasions to
consider similar protests where plaintiffs have cloaked their challenges to the terms of a
solicitation as a protest to the procurement evaluation. In both cases plaintiffs waited to
attack the solicitation until after submitting a proposal, leading the court to conclude that the
implicit challenge to the solicitation had been waived. See Blue & Gold Fleet, LP v. United
States, 70 Fed. Cl. 487 (2006), appeal docketed, No. 06-5064 (Fed. Cir. Mar. 9, 2006);
Bannum, Inc. v. United States, 60 Fed. Cl. 718 (2004), rev’d and remanded on other grounds,
126 F. App’x 958 (Fed. Cir. 2005) (unpubl.).

        This issue was most recently discussed in Blue & Gold, 70 Fed. Cl. 487, a pre-award
bid protest concerning “the provision [of] ferry services to the historic Alcatraz Island near
San Francisco, California.” Id. at 489. Plaintiff had asserted that the Park Service “‘failed
to recognize that the Services Contract Act, 41 U.S.C. §§ 351 et seq. applies to’ the wages
paid in the contract.” 70 Fed. Cl. at 512. The court construed this argument as an attack on
the prospectus because “[t]he Park Service has a longstanding policy, codified by regulation,
of not applying the prevailing wage provisions of the Service Contract Act to its concession
contracts.” Id. at 512. Ultimately, the court found that plaintiff’s protest to the prospectus
after its competitor was awarded the contract was untimely:

       Because no one questioned or protested the relevant terms of the prospectus,
       the Park Service lacked the opportunity to change them. For plaintiff to
       protest after submission of the proposals would hamstring the Park Service as
       it is required by law to ‘evaluate . . . competitive proposals and make an award
       solely on the factors specified in the solicitation.’”

Id. at 513 (quoting 10 U.S.C. § 2305(b)(1) (2000)). To support this finding, the court relied
on Bannum, 60 Fed. Cl. 718:

       Plaintiff in Bannum challenged the Bureau of Prisons’s evaluation process of
       certain submitted forms. The trial court construed the challenge as not relating

                                               47
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 48 of 82



       to the evaluation process, but to the terms of the solicitation. Although the
       court rejected the strict rules of the GAO, which “require that protests
       concerning the improprieties with solicitations be filed prior to the bid
       openings,” the court “embraced the utility of such procedures in bid protest
       realm.” Such procedures “mandate that the bidder raise any problem within
       the solicitation before submission of the offer, or risk that the reviewing
       tribunal will regard the right to contest as waived.”

Blue & Gold, 70 Fed. Cl. at 513 (citations omitted) (quoting Bannum, 60 Fed. Cl. at 726
(citing Aerolease Long Beach v. United States, 31 Fed. Cl. 342, 358 (1994), aff’d, 39 F.3d
1198 (Fed. Cir. 1994))).

       In the instant case, the terms of the Phase II Solicitation gave notice to all offerors that
the acquisition was designed as a two-phase procurement process building on the results of
the Phase I test boat evaluations. AR 00701. Moreover, the terms of the Phase II Solicitation
explicitly required the offerors to respond to criticisms from the Phase I test boat evaluations.
See, e.g., AR 00990-91. Logically, as with any cumulative process, success at an earlier
stage can translate to greater success later on. If O-Tech or Textron wanted to protest the
USCG’s approach to purchasing new RB-Ms, they should have protested before submitting
their Phase II proposals. Because neither O-Tech nor Textron elected to do so, the court
considers the right to protest the terms of the Phase II solicitation to have been waived.

               2. USCG’s evaluation of Textron’s model testing

        Textron argues that the USCG erred in its evaluation of Textron’s model testing
resulting in two significant weaknesses for Textron, one for uncontrolled turns and another
for the “balance between uncontrolled turns and porpoising.” 27/ Textron’s Br. filed Aug.
25, 2006, at 20. Moreover, Textron contends that the misevaluation infected the USCG’s
evaluation of Textron’s FPR design.

        The USCG expressed concerns regarding the tendency of Textron’s design to “spin-
out” during turns since the early stages of this procurement. See, e.g., AR 40042
(referencing problems with Textron’s test boat). In the USCG’s letter readmitting Textron
to the competitive range on March 17, 2006, the USCG specifically identified this issue as
a topic that Textron must address in its FPR:



      27/ “‘Porpoising’ refers to a tendency of a boat to bounce up and down even when
proceeding in calm water.” Def.’s Br. (Textron) filed Sept. 22, 2006, at 23 n.15 (citation
omitted).

                                                48
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 49 of 82



              The [initial Phase II] proposal indicates full scale and model testing was
       conducted in an attempt to correct the spin-out problems associated with the
       Test Boat. However, the data provided in the proposal [are] not sufficient to
       demonstrate that the tendency of the craft to “spin-out” during high speed,
       hard-over turns has been eliminated. Additionally, the changes made to the
       proposed hull design to improve seakeeping have raised questions about
       possible “porpoising” behavior at high speed. This effect was displayed in
       their model testing and discussed in the design engineers comments
       (Appendices 4.5-4.6). These factors increase the risk of not meeting the
       performance requirements, specifically, “In turns, at all turning rates, at all
       speeds, and in all loading conditions, the RB-M shall maintain a steady turn
       rate without skidding.” (SOW 051-2.4) and “The RB-M shall be safe and
       controllable at all speeds up to the maximum attainable speed and under all
       specified loading conditions.” (Spec 051-2.2)

AR 40042-43 (emphasis added).

       In response to these comments, Textron attempted to convince the USCG that its RB-
M would not demonstrate these undesirable characteristics by revising its proposal to include
more information about the model testing that it conducted and relied upon in making its
speed and power predictions. The calculations and test data that were added to Textron’s
proposal in response to this criticism were included as part of Textron’s FPR in Appendix
4.5-1: Model Tow Tank Test Results and Speed-Power Performance Calculations. 28/

        Appendix 4.5-1 stated that Textron’s predictions for its vessel’s speed and power
performance were based on the results of “1/8-scale model tests of the proposed RB-M
configuration.” AR 10746. The calculations included as part of Appendix 4.5-1 “were
revised from methods used to prepare the RB-M phase I test boat performance predictions.”
AR 10746. The RB-M model was tested at the Davidson Laboratory, Stevens Institute of
Technology in Hoboken, New Jersey. Tests were conducted in two sessions on June 7-11,
2004, and June 28-July 2, 2004. “In each session there were limited calm water test runs of
spray rail, chine configurations, and further testing of the final configuration in random sea
state 2, sea state 3, and regular waves.” AR 10747.




       28/ Textron made changes to other parts of its FPR in response to these comments,
including amending the text of its FPR to provide more model testing data. See, e.g., AR
10744-828; AR 10266 (yellow highlighting or yellow pages indicate that revisions were
made between submission of initial Phase II proposal and FPR).

                                              49
      Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 50 of 82



      As part of Appendix 4.5-1, Textron included Davidson Laboratory’s Technical Report
SIT-DL-04-9-2829 A (the “Davidson Technical Report”), issued September 2004, as Scaled
Model Tests of Three Planing Hulls: Calm Water Tests. AR 10779. The Davidson
Technical Report documented the results of model resistance tests that it conducted on behalf
of Textron.

               Model[s] of the two bare hulls were built to a scale of 1/8th; Patrol Boat
       Model – Baseline, and Patrol Boat Model – Experimental (PBM–B & PBM–E
       respectively) were provided by [Textron]. The PBM-E model was modified
       at the Davidson Laboratory machine shop after testing on it was completed to
       convert the keel from a V-shape, to a round bottom configuration based on
       templates provided by [Textron]. The modified PBM-E model is referred to
       as Patrol Boat Model – Experimental Round (PBM-ER).

AR 10784 (formatting omitted). After receiving Textron’s FPR, the USCG had its
independent consultant CDI analyze the new data submitted by Textron.

                     1) Turn instability and porpoising

      Textron argues that the USCG erred when it assigned a “significant weakness” to
Textron’s RB-M design for uncontrolled turns and porpoising. AR 40359. The premises of
Textron’s contention are that (1) CDI’s analysis was fundamentally flawed and (2) it was
unreasonable for defendant to argue that the USCG did not rely on the CDI evaluation.

       Textron posits that CDI misevaluated two specific aspects of its scaled model. First,
in conducting a comparison between Textron’s proposed design and its scaled model, CDI
used the “wrong values for the model’s beam at chine.” Textron’s Br. filed Aug. 25, 2006,
at 20. Secondly, Textron states that the USCG used the incorrect value for deadrise at
midship.

                             a) Chine length 29/

      In comparing Textron’s proposal dimensions with those of its tow tank model, CDI
found discrepancies between the chine beam length of Textron’s tow tank model versus
Textron’s proposed chine beam length. CDI discussed these discrepancies in Technical



       29/ “Chine is the intersection between the sides and the bottom of a flat or v-bottom
boat. Thus, ‘beam at chine’ refers to the beam (width) of the boat at the chine.” Def.’s Br.
(Textron) filed Sept. 22, 2006, at 22 n.13 (citation omitted).

                                              50
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 51 of 82



Memoranda #807.001-35 and #807.001-36 issued June 14, 2006. AR 40108 (“Textron’s
conclusions are based on hull forms with different deadrise and angles and chine beams.”);
AR 40086 (“It can be seen in Table 1 that the chine beam of the proposed RB-M hull form
is over 9 inches (6% greater) than the PB-M(E) and PB-M(ER) hull forms.”).

        Initially, Textron’s August 25, 2006 filing argued that “CDI used the wrong values
for the model’s beam at chine.” Textron’s Br. filed Aug. 25, 2006, at 20. In its reply brief
filed October 10, 2006, however, Textron modified its argument, stating:

       Defendant admits that Textron’s proposal identified the beam of its model as
       correlating to [      ] . . . . However, defendant chose to evaluate Textron’s
       model testing using another portion of Textron’s proposal that erroneously
       identifies the model beam as correlating [        ].

Textron’s Br. (Def.) filed Oct. 10, 2006, at 27 (citations omitted). Between August 25, 2006,
and October 10, 2006, Textron apparently identified an error in the data submitted in its FPR.
William Keith DuBose, the Principal Skirt Systems Engineer of Textron, declares:

              In Textron’s proposal, the beam of the model is identified as
       corresponding to a full-scale beam of [               ]. This is incorrect. In
       preparing its Phase II proposal, Textron used a chart of dimensions that it had
       created when setting out the initial concepts of the Phase II craft, and updated
       that chart to reflect the final dimensions of the Phase II vessel. Somehow,
       although the beam of the vessel had changed, that change was not made to the
       chart. That is how the incorrect figure of [             ] was included in the
       proposal.

Decl. of William Keith DuBose, Oct. 10, 2006, ¶ 8. Textron asserts that the USCG should
have identified this discrepancy and requested a clarification. Textron’s Br. (Def.) filed Oct.
10, 2006, at 26-28 (contending that the USCG asked several clarification questions of
Textron, but “did not raise this simple issue”).

       A review of the administrative record confirms that, as Textron admits, its FPR
alternatively identifies the full-scale beam of the model as [    ] or [      ]. In Table
4.5.3-1, located in the body of Textron’s proposal, the chine beam length of the tow tank
model PBM-E is listed—according to Textron, accurately—as [              ], while the chine
beam length of both the PBM-E and PBM-ER is shown as [                ] in Table 4 of the
Davidson Technical Report. 30/ AR 10792, AR 10266.


      30/ The PBM-E is also identified in the Model Tow Tank Test Results and Speed-
Power Performance Calculations, Table 1, as having a maximum chine beam length of [
  ]. AR 10748.

                                              51
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 52 of 82




        Defendant responds, and the court agrees, that the USCG and CDI were reasonable
in relying on the values reported in Davidson Technical Report and other data contained in
Appendix 4.5-1, because it was “the very test report that addressed the boat’s geometry and
investigated beam at chine rather than an unexplained, unsupported contrary value stated in
Textron’s FPR,” which the USCG had already evaluated in Textron’s initial Phase II
proposal and found unconvincing. Def.’s Br. (Textron) filed Oct. 16, 2006, at 23; see also
Decl. of Daniel G. Bagnell, Sept. 14, 2006, ¶¶ 6-7. The data in the Davidson Technical
Report was submitted as part of Textron’s proposal, and it was Textron, not the USCG, that
was responsible for ensuring that the information in the FPR was accurate. Textron itself
does not appear to have identified this “error” until it was well into its second bid protest.
That the USCG would rely on the information submitted as part of Textron’s FPR is not only
reasonable, it is expected.

        Additionally, the court agrees with defendant that no purpose would have been served
by requesting a clarification. The FAR defines “clarifications” as “limited exchanges,
between the Government and offerors, that may occur when award without discussions is
contemplated.” FAR 15.306(a). “The ‘acid test’ for deciding whether discussions have been
held is whether it can be said that an offeror was provided the opportunity to revise or modify
its proposal.” In re Nat’l Beef Packing Co., B-296534, 2005 CPD ¶ 168, at 11; see also In
re Priority One Services, Inc., B-288836, 2002 CPD ¶ 79, at 3 (stating “clarifications are
merely inquiries for the purpose of eliminating minor uncertainties or irregularities in a
proposal and do not give an offeror the opportunity to revise or modify its proposal”). Neither
is the Government required to reopen discussions with an offeror when an issue arises for the
first time in an FPR. See In re Litton Sys., Inc., Am. Div., B-275807, 97 CPD 97-1¶170, at
*4 (finding that since issue arose for first time in protestor’s Best and Final Offer (the
“BAFO”), “the agency was under no obligation to reopen discussion with [the protestor], or
otherwise seek clarification from [protestor], about what the BAFO entry meant”).

        Defendant persuasively argues that requesting a clarification on this point would have
served a limited purpose: “If Textron responded [to a clarification request] that its FPR
narrative was correct, that would have endorsed the value [it] now asserts is the correct one,
but that would mean that there was no analysis supporting that value.” Def.’s Br. (Textron)
filed Oct. 16, 2006, at 23. Under this scenario, Textron and the USCG would be left in the
same situation that they confronted when Textron was readmitted into the competitive range,
namely, that Textron made speed and power predictions with no supporting model test data.
“If, on the other hand, Textron responded that its test report was correct, the analysis in the
report would support that smaller value,” id. at 23, and CDI’s evaluation. No matter what
response Textron provided the USCG, a clarification would have established only that
Textron’s FPR predictions were unsupported. Moreover, because the data and calculations

                                              52
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 53 of 82



supporting Textron’s scale model tests were not included in any of the proposals submitted
prior to its FPR, the USCG could not have identified the issue before this juncture.

                             b) Deadrise 31/

        Textron argues that CDI misevaluated Textron’s scale model testing when CDI
concluded that the deadrise at midship of the RB-M design was [              ], as opposed to
Textron’s proposed value of [           ]. Textron’s Br. filed Aug. 25, 2006, at 20. Textron
argues that “CDI compares CDI’s deadrise value for the design to Textron’s value for the
model. Thus, the supposed discrepancy between these two values arises from CDI’s use of
a different method, not any real flaw in the scaling of the model.” Textron’s Br. (Def.) filed
Oct. 10, 2006, at 26 (boldface in original). Textron’s analysis stops there. Textron fails to
explain why the use of a different methodology should result in a different value or why the
methodology CDI used was improper. Textron’s expert Prof. Mansour indicates that there
may be more than one correct methodology for calculating deadrise. Instead, Textron asserts
that “[h]ad defendant asked, Textron could have confirmed that the deadrise of its model
matches that of its full-scale design.” Textron’s Br. (Def.) filed Oct. 10, 2006, at 26.

       The CDI evaluation identified the FPR value for deadrise at midship as [             ] and
the deadrise at midship of the PBM-(E) and PBM-(ER) as [                   ]. AR 40080. CDI
calculated that the deadrise at midship of the proposed RB-M was 3 degrees or 13.5% greater
than model hull forms. AR 40080. Textron takes the position that the USCG acted
unreasonably by comparing CDI’s calculations for deadrise at midship of the RB-M design
against Textron’s calculations for deadrise at midship of the PBM-(E) model. Textron’s
expert William Keith DuBose states that “when a consistent method is used to calculate the
deadrise of both the full-scale design and the model, at the same hull station, the results show
that the model accurately reflects the design.” Decl. of William Keith DuBose, Oct. 10,
2006, ¶ 6.

       Yet, the purpose of conducting the CDI analysis was to verify Textron’s predications
about the performance of its design. Textron has failed to show how CDI’s analysis, and the
USCG’s consideration of that analysis, was somehow irrational or incorrect. Moreover, the
Director of Naval Architecture for CDI, Daniel G. Bagnell, states that the analysis of
deadrise at midship figure was conducted to verify Textron’s claims that its RB-M would not
porpoise “even though the free flight models exhibited this characteristic.” Decl. of Daniel



       31/ “Deadrise is the angle of the boat’s bottom relative to the horizontal. A flat
bottom boat has a deadrise of 0 degrees while a boat with a deep-V bottom might have a
deadrise of 25 degrees.” Def.’s Br. (Textron) filed Sept. 22, 2006, at 22 n.14.

                                               53
      Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 54 of 82



G. Bagnell, Sept. 14, 2006, ¶ 10. A review of the CDI reports indicates that deadrise at
midship was primarily discussed as a factor of CDI’s porpoising analysis. See AR 40085-
40106. Significantly, when CDI analyzed the tendency of Textron’s RB-M design to
porpoise, CDI purposefully relied on Textron’s value [           ], rather than on CDI’s
calculated value for deadrise [       ]. Compare AR 40091 with 40088.

       Once again, Textron seeks a finding that the USCG somehow acted irrationally by not
asking Textron for a clarification. “Had defendant asked, Textron could have confirmed that
the deadrise of its model matches that of its full-scale design.” Textron’s Br. (Def.) filed
Oct. 10, 2006, at 26. Textron fails to explain how a confirmation that the deadrise of its
model is the same as its RB-M design would further its cause. The purpose of the CDI
analysis was to verify Textron’s predictions. To have Textron assert that the values were the
same would not have served any practical purpose. Textron has failed to convince the court
that CDI or the USCG misevaluated its scale model data. In fact, a review of the
administrative record confirms that Textron failed to provide sufficient data to support its
predictions. Neither CDI nor the USCG acted irrationally or improperly in evaluating
Textron’s scale model testing, and Textron has failed to persuade the court that the USCG
wrongfully did not ask for a clarification.

                     2) Discussions and proper scaling of Textron’s model

        Textron argues that defendant failed to conduct meaningful discussions, because the
USCG never raised concerns over Textron’s scale modeling during the discussions held on
March 26, 2006, between the USCG and Textron. According to Textron, the problems with
its scale model could have been resolved easily had it been advised of the problems earlier.
Textron’s Br. (Def.) filed Oct. 10, 2006, at 27.

      Pursuant to FAR 15.306(d)(3), the USCG was under an obligation to discuss
important shortcomings in Textron’s proposal:

              At a minimum, the contracting officer must, . . .indicate to, or discuss
       with, each offeror still being considered for award, deficiencies, significant
       weaknesses, and adverse past performance information to which the offeror
       has not yet had an opportunity to respond. The contracting officer also is
       encouraged to discuss other aspects of the offeror’s proposal that could, in the
       opinion of the contracting officer be altered or explained to enhance materially
       the proposal’s potential for award.

Id.; see In re Al Long Ford, B- 297807, 2006 CPD ¶ 68, at *5 (stating “[w]here contracting
agencies conduct discussions with offerors whose proposals are within the competitive range,

                                             54
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 55 of 82



the discussions must be meaningful. In re Professional Services Group, Inc., B-274289.2,
97-1 CPD ¶ 54, at 3.; In re Mechanical Contractors, S.A., B-277916, B- 277916.2, 98-1 CPD
¶ 68, *3 (stating “[d]iscussions cannot be meaningful if an offeror is not advised of the
weaknesses, deficiencies, or excesses that must be addressed in order for the offeror to be in
line for the award”); In re CitiWest Properties, Inc., B-274689.4, 98-1 CPD ¶ 3, at 5; In re
Columbia Research Corp., B-247631, 92-1 CPD ¶ 539, at 5.

       Textron’s position is unavailing because the USCG did not have the opportunity to
identify the problems with Textron’s scale modeling until Textron submitted its FPR. For
example, the chine beam length dispute discussed above arose precisely because of the new
data that Textron included in its FPR. See AR 10841.

       In the discussions held on March 26, 2006, prior to Textron’s submission of its FPR,
the USCG instructed Textron to submit the test data that supported its model testing. AR
90009-10, 90014. Cmdr. Doherty stated, in reference to Textron’s predictions for
acceleration, that

       the information that was provided in the initial proposal described a
       methodology for determining the motions of the proposed design, for instance,
       your testing methods, that the evaluators found to be materially flawed . . . .
       there are probably a lot more data in the study that was done that was called
       out. We need to be able to see all the data, works and all to be able to confirm
       that your conclusion is reasonable.

AR 90009-10.

       Textron now cannot persuasively argue that the USCG failed to conduct meaningful
discussions. The USCG can only discuss items of which it was aware; the only way the
USCG could have known about this problem was if Textron had provided the information
prior to discussions. That was not the case. The USCG requested the information,
demonstrating (1) that it could not have notified Textron of the problem earlier, and (2) that
the USCG intended to examine the information. AR 90014. Thus, Textron was notified
during discussions that the USCG intended to analyze and rely on the information that
Textron provided in its FPR regarding its scale model testing.

              3. Reliance on CDI evaluations

       Textron argues that defendant’s position is somehow flawed because the latter
contends that the USCG did not rely on the CDI evaluations. The court finds that the USCG
rationally evaluated Textron’s FPR for porpoising, uncontrolled turns, and the balance of
uncontrolled turns and porpoising. The RB-M Evaluation Worksheet completed by the
NPET team and the RB-M Evaluation Worksheet Notes on these issues indicate that the


                                             55
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 56 of 82



NPET relied on CDI’s analysis, as well as Textron’s own model test data. AR 40401-08; AR
40364-69. Certainly, as defendant and Marinette state, the record supports the conclusion that
the USCG relied more heavily on Textron’s own FPR model test data, with only occasional
references to the CDI analysis, because the NPET devoted a considerable number of words
in its evaluation to describing how the model tests that Textron submitted demonstrated a
tendency for the design to porpoise, experience uncontrolled turns, and failed to solve the
“balancing act” between the two operational issues in its final design. AR 40401.

       Textron also contends that defendant “fundamentally misstates the content of
Textron’s proposal.” Textron’s Br. (Def.) filed Oct. 10, 2006, at 28. Defendant admits in
its opening brief that it “erroneously stated that Textron’s model could be subject to
uncontrolled turns at up to 14 knots.” Def.’s Br. (Textron), filed Oct. 16, 2006, at 27 n.20.
Textron fails to offer any support for its argument that the USCG misstated or misunderstood
Textron’s proposal in its Non-Price Evaluation. Consequently, the court finds that the USCG
rationally evaluated Textron’s FPR.

              4. Classification of Textron’s battery charging system

       Plaintiffs insist that the USCG improperly assigned a deficiency to Textron’s battery
charging system. Section 313-1.1 of the Phase II Solicitation required the proposed RB-M
to have two banks of batteries. AR 00917. Section 313-1.2 of the Phase II Solicitation
required offerors to provide “[a] battery parallel switch . . . to connect both battery banks for
emergency power or emergency engine starting. During normal operation this switch will
be in the open position.” AR 00918. According to Textron’s expert Gerald N. Jensen, a
Project Engineer with Textron, although Textron’s FPR proposed using a battery charging
system that included a parallel switch, the proposal was designed to allow both engines to
charge “[w]hen the switch is maintained in the closed position.” Decl. of Gerald N. Jensen,
July 11, 2006, ¶ 8.

        Textron contends that its proposal meets the Phase II Solicitation requirements:
“Textron’s battery charging system, in fact, does comply with the specification, because it
permits both engines to charge both batteries . . . . [The] USCG can, if it so chooses, adopt
[the closed position for the switch] as the Normal Operating Condition.” Textron’s Br. filed
Aug. 25, 2006, at 18. Because the flaw easily could be corrected, it should not have been
classified as a “deficiency” because, in Textron’s opinion, the flaw was not “material.” Id.

       An agency’s technical evaluation is accorded great deference from the trial court, as
the Federal Circuit articulated in E.W. Bliss: “[The] twelve other substantive challenges to
the procurement . . . deal with the minutiae of the procurement process in such matters as
technical ratings and the timing of various steps in the procurement, which involve

                                               56
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 57 of 82



discretionary determinations of procurement officials that a court will not second guess.” 77
F.3d at 449 (emphasis added); see also Advanced Data, 216 F.3d at 1058 (“The arbitrary and
capricious standard applicable here is highly deferential.”).

       Textron has failed to show that the USCG acted arbitrarily or capriciously. The PEP
defines a deficiency as “a material failure of the proposal to meet a requirement or a
combination of significant weaknesses that increase the risk of unsuccessful performance to
an unacceptable level.” AR 00616 (adopting the definition of deficiency provided in FAR
15.001). FAR 1.108 provides that “[u]ndefined words retain their common dictionary
meaning.” Because neither the FAR or the Phase II Solicitation defines the term “material,”
Textron relies on FAR 1.108 to argue that the USCG misidentified its battery charging
problem as a “deficiency.” Textron argues, that, based on Webster’s II New College
Dictionary (2001 ed.), the term “material” is synonymous with the word “substantial.”
Therefore, the classification was arbitrary because the USCG admitted that the deficiency
was easily corrected. Textron’s Br. filed Aug. 25, 2006, at 17-18.

        This argument cannot succeed because the USCG has determined rationally that the
battery charging system does not meet the Phase II Solicitation requirements. AR 40360.
Defendant’s analogy is apt: “When a car runs out of gas, that problem is a ‘deficiency’ that
is both ‘material’ and ‘substantial,’ notwithstanding that is can be easily corrected. The fact
remains that, until gas is added to the gas tank, the car is not going anywhere.” Def.’s Br.
(Textron) filed Sept. 22, 2006, at 16 n.9. Moreover, Textron misplaces its reliance on
Webster’s II New College Dictionary. The Federal Circuit has rejected dictionary definitions
as controlling, see, e.g., Teg-Paradigm Envtl., Inc. v. United States, 2006 U.S. App. LEXIS
24520 (Fed. Cir. Sept. 6, 2006) (rejecting, in a contract case, plaintiffs’ reliance on Webster’s
College Dictionary definition of “surface”). This court will not declare an agency decision
arbitrary or irrational based on the potpourri of dictionary definitions of a word. Recognizing
that the deficiency was easily corrected, the Source Evaluation Board (the “SEB”) assigned
Textron a “yellow” rating (marginal) in this category, signifying that the problem could be
corrected “without major revisions to the proposal.” AR 40121 (assigning Textron a
“yellow” rating); AR 00617 (defining a “yellow” rating). Therefore, the USCG’s evaluation
of Textron’s RB-M proposal accurately reflected that its proposed design did not meet the
Phase II Solicitation requirement, but that the problem could be easily corrected. AR 40359-
60.




                                               57
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 58 of 82



             5. USCG’s assignment of a significant weakness to O-Tech’s RB-M for
       outboard heel 32/

        O-Tech argues that the USCG unreasonably assigned O-Tech’s proposal a “significant
weakness” for the boat’s tendency to outboard heel. See AR 40201. During the Phase I
testing of the RB-M test boats, crew members identified the tendency to heel outboard. AR
50424. The Response Boat-Medium (RB-M) Mission Effectiveness and Supportability Phase
Report—RBM 54110 (Ocean Technical Services) of July 2004 (“Mission Effectiveness
Report (O-Tech)”) stated that “[O-Tech’s] boat had a tendency to heel outboard after 90
degrees of turn from cruising (25 knots) to full throttle.” AR 50424.

        In response to these crew comments and feedback from the USCG during discussions,
O-Tech made four alterations to its Phase I test boat, which O-Tech tested on July 5, 2004.
 Def.’s Counter-Stmt. of Facts (O-Tech) filed Sept. 22, 2006, ¶ 29. Appendix E of O-Tech’s
FPR contained a section entitled “Hydrodynamic Evaluation of Heeling During Turns,”
which addressed the USCG’s concerns. AR 30479-87. O-Tech argues that (1) the outboard
heel problem was “documented only qualitatively,” insinuating that the outboard heel
problem was not real; (2) the USCG erroneously discounted the Hydrodynamic Evaluation
of Heeling During Turns; (3) the USCG failed to consider video evidence of “documented
trials performed on the Phase I test boat;” and (4) the USCG unevenly evaluated O-Tech’s
FPR for outboard heel as compared to Marinette’s FPR for range. O-Tech’s Br. filed Oct.
10, 2006, at 17-18; O-Tech’s Br. filed Aug. 25, 2006, at 16.

                      1) The USCG properly identified outboard heel as problem in O-Tech
                      FPR

        O-Tech attempts to imply that the outboard heel issue was not truly a problem by
arguing that the outboard heel was “documented only qualitatively” and referring to the test
boat crew comments as “spurious.” O-Tech’s Br. filed Aug. 25, 2006, at 16; O-Tech’s Br.
(Def.) filed Oct. 10, 2006, at 17. Defendant successfully has demonstrated that outboard heel
was identified as a problem throughout the procurement; O-Tech failed to dispute the
USCG’s crew comments previously; and, most importantly, O-Tech admitted that outboard



       32/ “‘Outboard heel’ describes an undesirable phenomenon that some boats
experience when turning. If a boat is turning to the left, it should lean (or ‘heel’) to the left
to help the crew maintain their position on the boat. This is known as ‘inboard heel.’ If a
boat turning left heels to the right–outboard of the turn–it makes it difficult for the crew to
maintain position, due to centrifugal force. This is known as ‘outboard heel.’” Def.’s Br.
(O-Tech) filed Sept. 22, 2006, at 14.

                                               58
      Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 59 of 82



heel was a problem with its RB-M design in its FPR. AR 50015-17 (informing O-Tech of
the discrepancies manifested in its Phase I Test Boat, including outboard heel, that needed
to be addressed); AR 30297 (“[The tendency of O-Tech’s boat to heel outboard] was valid
and has been addressed through a design change.”). Moreover, O-Tech has not cited to any
requirement in the Phase II Solicitation or law that requires the USCG to quantitatively
identify problems with proposed designs. Indeed, it would be nigh impossible for the USCG
to document the problem quantitatively, because the precise reason O-Tech received a
significant weakness for outboard heel was due to a lack of information. AR 40118. Test
crews experienced the outboard heel phenomenon, and then O-Tech refused to provide
quantitative evidence that the problem did not exist. Therefore, it was reasonable for the
USCG to fault O-Tech for its failure to provide evidence that their RB-M design would not
heel outboard.

                      2) The USCG properly considered the information provided by O-Tech
                      in its FPR

       Although the USCG acknowledged that O-Tech attempted to mitigate the outboard
heel problem and provide more information in its FPR, the USCG did not find the additional
information persuasive. AR 40247. As the NPET goes to great lengths to explain in its June
14, 2006, evaluation, sufficient data were not provided to verify that O-Tech had solved the
problem:

       Although the information provided [in O-Tech’s FPR] indicates outboard heel
       may not occur, the lack of concrete data in the form of test data from the
       modified test boat, test data from model testing of similar designs, actual full
       scale data from similar full scale boats in the field, or conclusive calculations
       of the inboard & outboard heeling moments of this design, this information
       does not support their claim.[sic] The proposal indicates that this information
       exists, but it is not provided. As a result, there is a significant risk that the
       proposed design will not maintain an inboard heel during turns. The impact of
       accepting the proposal as written is that there is a significant risk that the boat
       will not meet the requirements for heeling in turns (Spec. 051-2.4). This
       requirement was imposed to ensure the safety of crews during all operations,
       including the prevention of crew being thrown overboard in high-speed tactical
       maneuvers that are unique to the USCG. Otech claims that there is difficulty
       of modeling the HysuCat design and because of the apparent proprietary nature
       of the existing HysuCat designs and test data, it is likely that if this
       phenomenon occurred it would not be detected until OT&E.




                                               59
      Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 60 of 82



AR 40247 (emphasis added). A review of O-Tech’s FPR indicates that O-Tech was
unwilling to provide the USCG with the underlying data necessary for the USCG to evaluate
O-Tech’s craft for outboard heel and implies the USCG evaluators do not possess the
necessary education to accurately evaluate such data:

              The analysis and discussion below describes the hydrodynamic forces
       effecting the heeling of the Team Otech RBM Test Boat and the Phase II
       proposed RBM. The purpose of this analysis is to explain the lift
       characteristics unique to the hydrofoil section shapes and spray rails developed
       specifically for application to Hysucat hull forms . . . .

              This development effort created an extensive database of hydrodynamic
       characteristics related to Hysucat technology. This data is proprietary to Foil
       Assisted Shop Technologies; CC (FAST) and is considered highly
       confidential. In addition the data [are] highly complex and require[] extensive
       education, knowledge and experience in theoretical hydrodynamic in order to
       comprehend and evaluate in detail. Therefore, the analysis and discussion
       presented [here] provide[] an overview of the hydrodynamic characteristics of
       the Team Otech RBM related to heeling in turns at a level that can be
       understood by technical evaluators without highly complex numerical analysis
       or need for detailed data which [are] not available for distribution.

AR 30480. Contrary to O-Tech’s argument, the information that O-Tech provided to the
USCG was not discounted; indeed, it caused the USCG to improve its evaluation of O-
Tech’s Mission Effectiveness from a “deficiency” to a “significant weakness.” Compare AR
40771 with AR 40018.

                     3) USCG’s refusal to consider video evidence

        In response to the crew comments that stated that O-Tech’s “boat had a tendency to
heel outboard after 90 degrees of turn from cruising (25 knots) to full throttle,” AR 50424,
O-Tech proposed alterations to its Phase II design intended to solve the outboard heel
problem. During Phase II, O-Tech fitted its Phase I test boat with design alterations and
conducted trials on July 5, 2004. Def.’s Counter Stmt. of Fact (O-Tech) filed Sept. 22, 2006,
¶ 29. A video was made of these trials, which, according to O-Tech, demonstrates that “the
craft exhibit[ed] strong inboard heel for over 720 degrees of turning at speeds between 25
knots and top speed (42.5 knots).” O-Tech’s Br. filed Aug. 25, 2006, at 21 (citing Barr Decl.
¶ 39 and Decl. of Brennan J. Smith, Aug. 24, 2006, ¶¶ 5-6). O-Tech contends that this video
is its “best information” that the RB-M consistently would heel inboard during turning and
that the USCG improperly and unfairly denied O-Tech’s request to consider the video

                                             60
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 61 of 82



documentation. O-Tech’s Br. filed Aug. 25, 2006, at 21. O-Tech’s argument is neither
supported by any citation to the Phase II Solicitation requiring the USCG to accept video nor
any evidence indicating that the USCG accepted video from other offerors. O-Tech’s Br.
filed Aug. 25, 2006, at 21-22.

         The USCG refused O-Tech’s request to submit video evidence during the March 22,
2006, United States Coast Guard—O-Tech Discussions. According to the transcript of
proceedings, the USCG refused O-Tech’s request, because the USCG decided during the
Phase I Solicitation process that offerors would not be allowed to submit video evidence:
“A question that came during the solicitation process one of the offerors wanted to supply
video. We denied that for several reasons, and those reasons haven’t changed right now.
There are other options open . . . . Still frame pictures. Still frames with a video annotation.”
AR 90147. As defendant noted during oral argument, the USCG expected O-Tech to include
still frame pictures in its FPR or provide the underlying data. Tr. 201-02. O-Tech did
neither.

                      4) The evaluation of Marinette’s design to meet range requirements v.
                      the evaluation of O-Tech’s design to heel outboard

       In its reply brief O-Tech raises, for the first time, the argument that it was treated
inequitably because

              [t]he [USCG] found, despite all the contrary evidence before it, that
       Marinette satisfied the range requirement based solely on Marinette’s
       representation in its final proposal concerning tests on its Phase I craft. In
       contrast, where there was absolutely no contrary evidence before it the
       [USCG] rejected O-Tech’s empirical analysis and statement in its final
       proposal revision that, based on testing, its modified Phase I test boat
       maintained inboard heel through 560 degrees of turning.

O-Tech’s Br. (Def.) filed Oct. 10, 2006, at 18.

       In arguing that the USCG inequitably evaluated the RB-M proposals, O-Tech cites 10
U.S.C. §§ 2304-05 and Krygoski Constr. Co. v. United States, 94 F.3d 1537 (Fed. Cir. 1996),
for the proposition that the Competition in Contracting Act “mandates impartial, fair, and
equitable treatment for each contractor.” Id. at 1543. 33/ O-Tech implies that the standard



        33/ O-Tech also selectively quotes from Seattle Security Services, Inc. v. United
States, 45 Fed. Cl. 560, 569 (Fed. Cl. 1999), which states “it is fundamental that the

                                               61
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 62 of 82



of review for examining this aspect of the procurement is that offerors must not be treated
inequitably. O-Tech’s Br. (Def.) filed Oct. 10, 2006, at 18. Krygoski Construction, 94 F.3d
at 1542-43, is not as applicable to the case at bar, as O-Tech would argue. In Krygoski
Construction the Federal Circuit was discussing a contracting officer’s responsibility to
maintain full and open competition in a procurement process in the context of his decision
to terminate a contract for government convenience. He permissibly could terminate a
solicitation to ensure equitable treatment of all offerors. 34/ In this case, the applicable
standard as stated in 10 U.S.C. § 2305(b)(1) is that “[t]he head of an agency shall evaluate
sealed bids and competitive proposals and make an award based solely on the factors
specified in the solicitation.” Id. (emphasis added).

       When an evaluation has been challenged, as in this case, the court examines the
procurement “‘to ensure that it was reasonable and consistent with the evaluation criteria and
applicable statutes and regulations, since the relative merit of competing proposals is
primarily a matter of administrative discretion.’” E.W. Bliss, 77 F.3d at 449 (quoting In re
Offshore Corp., B-251969.5, B-251969.6, 94-1 CPD ¶ 248, at 3); see also Galen Med., 369
F.3d at 1330 (endorsing and quoting standard from E.W. Bliss and stating “[b]ecause the bid
protest at issue here involved a ‘negotiated procurement,’ the protestor’s burden of proving
that the award was arbitrary, capricious, an abuse of discretion, or otherwise not in
accordance with law is greater than in other types of bid protests.” (Citations omitted.)

       If the court had found that the USCG had treated Marinette and O-Tech inequitably,
giving Marinette a benefit that it had not accorded the other offerors, that finding could
contribute to a determination that the USCG acted arbitrarily and capriciously. However, the
court has found no evidence of such disparate treatment. The USCG acted reasonably in
requesting data from O-Tech to prove that its design would not heel outboard. O-Tech was
asked to address the outboard heel problem since the earliest stages of this procurement. If
O-Tech disputed that outboard heel was a problem in its design, it could have addressed the


       33/ (Cont’d from page 61.)

contracting agency must treat all offerors equally” in reference to the standard for
considering offerors’ past performance history. In implying that this is the legal standard for
review of the USCG’s procurement decision, O-Tech fails to recognize that the court must
defer to the agency’s decision unless a protestor can prove that the agency acted arbitrarily
or capriciously. See, e.g., Bannum, 404 F.3d at 1351.

       34/ While section 2304 of the United States Code addresses the competition
requirements for competitive procurements, it does not specifically address evaluating
proposals in negotiated procurements. 10 U.S.C. § 2304.

                                              62
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 63 of 82



problem years ago with the USCG. Instead, in its final proposal, O-Tech finally attempted
to address the problem without providing the kind of information that the USCG explicitly
called for in discussions. See AR 40018. Given the circumstances surrounding the outboard
heel issue, it is impossible for the court to find that the USCG acted arbitrarily or
capriciously. Although Marinette provided data as requested by the USCG to address the
range issue, O-Tech declined to submit the necessary information, insulting the USCG’s
ability to analyze such complex data and failing to submit other evidence that its boat met the
solicitation requirements. See AR 30479-87. O-Tech has failed to prove that the USCG
acted arbitrarily and capriciously in its evaluation of the outboard heel.

              6. USCG evaluation of O-Tech’s engine room proposal

       O-Tech contends that the USCG irrationally assigned a deficiency to O-Tech’s
proposed RB-M for engine room access. Since the earliest stages of the procurement
process, the USCG identified engine room access as a problem in O-Tech’s design. E.g., AR
40018. In the March 17, 2006, discussion letter, which readmitted O-Tech to the competitive
range, the USCG listed the Phase II Solicitation subsections that O-Tech’s design failed to
meet:

              The proposal fails to demonstrate sufficient access to the engine room
       for conducting underway inspection, damage control, and repair for inport
       maintenance and repair (Spec. 071-1 and 088-1). Accessibility was a concern
       noted in the phase one test boat mission effectiveness crew comments (Sec. C-
       10)[;] however, it does not appear these issues were addressed
       satisfactorily . . . . A CCTV system is proposed to provide 2 cameras per
       engine room meeting the requirements of Spec 070-2.11; however, the access
       requirements of Spec 071-1.4 cannot be met by cameras alone.

AR 40018-19. In an attempt to remedy this problem, O-Tech modified its RB-M design to
provide greater access to the engine room: “O-Tech raised the deck and moved the engines
and other equipment forward to improve access in the engine room . . . . [and] identified all
routine maintenance items as being located on the front or rear of the engines.” O-Tech’s
Br. filed Aug. 25, 2006, at 18; see also AR 30104-06 (O-Tech’s FPR discussing the changes
made to its engine room); AR 30532-33 (showing drawings of O-Tech’s proposed engine
room). The proposal also added another hatch for each engine room and provided more
information about access to the engine room for inspection and maintenance. AR 40281.

       As a result of these changes, the USCG improved its rating of the RB-M’s “underway
inspections of engine room,” this time assigning O-Tech a weakness, rather than a



                                              63
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 64 of 82



deficiency. AR 40281. 35/ The NPET also found that O-Tech had resolved its problems with
“access forward.” Despite the improvement in these isolated areas, the NPET still found O-
Tech’s design deficient in four areas: (1) “Accessing the bilge (Spec 071-1.5 & Spec 100-
4.4);” (2) “Access to the sides of the engine/underway casualty response (Spec 071-1.4 &
1.9);” (3) “Difficulty performing maintenance inport (Spec 071-1.1 & 071-1.9, Spec 088-
1.1.12 & 088-1.1.13);” and (4) “Difficulty accessing engine spaces (Spec 071-1.8, Spec 088-
1.18, 088-1.16, 088-1.12& 088-1.1.13).” AR 40281. 36/

       O-Tech contends that the USCG’s findings are demonstrably false, relying on the
Declaration of Louis T. Codega, Aug. 24, 2006. Mr. Codega’s declaration addressed each
of the four deficiencies and nine specifications cited by the NPET in turn and offered his
assessment on the NPET’s findings. Id.

        The court has considered O-Tech’s attacks on the USCG’s evaluation and finds that
O-Tech has failed to show that the USCG acted arbitrarily and capriciously. What O-Tech
shows through the declaration of its expert Mr. Codega is that he would evaluate the engine
room access on O-Tech’s design differently than did the NPET. To prevail O-Tech must not
offer a different evaluation, but must prove that the USCG’s evaluation and decision was
irrational. This O-Tech has failed to do.




       35/    The original proposal was given a ‘deficiency’ for not having
              adequate access to the engine room to conduct inspections
              underway. The revised proposal adds another hatch for each
              engine room to provide a method of accessing the aft end of the
              engine room for inspections underway. Although this provides
              better access to the engine room, it has a negative [e]ffect on
              conducting engine room rounds.

AR 40281.

        36/ O-Tech also challenges the USCG’s engine room evaluation because it claims
that the USCG improperly failed to identify the issues prior to its FPR evaluation on June 14,
2006. Defendant responds that these problems were identified as a result of new information
provided by O-Tech, such as new drawings with “man-sized silhouettes included.” AR
40283; Def.’s Br. (O-Tech) filed Sept. 22, 2006, at 23. Defendant has shown that O-Tech
was on notice of the four issues that it eventually received a deficiency for failing to remedy.
AR 40030-31; AR 50420; AR 90159.

                                              64
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 65 of 82



                     1) Access to the bilge areas

        The NPET assigned O-Tech a deficiency for O-Tech’s failure “to demonstrate
sufficient access to the engine room [in its FPR] for: accessing the bilges beneath the engines
for damage control (Spec 071-1.5).” 37/ AR 40769. The NPET came to the conclusion that
the size of the engine area in O-Tech’s design would make it difficult for the USCG to access
the bilge section of the boat located directly below the engine, “the most likely area for
collection of oil from the engine.” AR 40282. The NPET remarked:

       If the proposal is accepted as proposed, the problem may be identified and
       corrected through the HSI effort discussed in section 3.5, page 3-36 of the
       proposal. However, it is likely that the issue can not be completely resolved
       due to the confined space of the engine room resulting from the catamaran
       design. The proposal explicitly acknowledges the risk of limited engine room
       space with a catamaran design.

AR 40285.

        O-Tech’s expert Mr. Codega responds to this finding by suggesting that the engine
room bilge area met the specification requirements because the bilge area could be
“accessible for inspection, cleaning and dewatering . . . . by reaching over the frame and
beneath the engine.” Codega Decl. ¶ 5b). If Mr. Codega were evaluating O-Tech’s FPR on
behalf of the USCG, he would be free to make a determination that “reaching over the frame
and beneath the engine” was sufficient access to the bilge. Id. The USCG, however,
determined that the space in the engine room was too limited to meet the Phase II Solicitation
criteria. AR 40282-85. The NPET evaluated the access and concluded that “[i]f [the bilge
access issue] can not be corrected, routine cleaning and investigation for unidentifiable leaks



       37/ Section 071-1.5 provides:

       Access shall be provided to bilge areas. Bilge areas are those that are below
       the static waterline in the full load condition as per SOW 096-3. Access is to
       ensure that bilges can be checked for water content and completely dewatered
       and wiped clean of any residue. Bilge access points shall provide access to the
       lowest point of the bilge when the RB-M rests in a level position. The crew
       shall be able to access bilges for inspection and damage control without the
       use of tools.

AR 00879.

                                              65
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 66 of 82



will be more difficult and time consuming” and that such a shortcoming deserved a
“deficiency” rating. AR 40285. O-Tech has shown no reason why the court should conclude
that this determination was irrational. The USCG considered O-Tech’s proposal, even
reproducing the drawings of its engine room access in its NPET Evaluation Notes. AR
40283-84. That Mr. Codega disagrees with the NPET is not a valid ground for the court to
“second guess” the USCG’s decision. E.g., E.W. Bliss, 77 F.3d at 449.

                      2) Accessing the engine for casualty repairs

       O-Tech was also assigned a deficiency for its failure to propose a design that provided
adequate access to the sides of the engine for casualty repairs. AR 40285. 38/ According
to the NPET’s Evaluation Notes, from the USCG’s FPR evaluation, the starter motor,
solenoid and wiring connections, raw water hoses/fittings, oil hoses/fittings, marine gear oil
cooler, engine oil temperature and pressure sensors, and zinc plugs are all located on the side
of the engine. AR 40285-86. The NPET stated that “[t]here is no clear indication of the
amount of space available on the sides of the engine to access these areas; however, . . . there
appears to be less than 3 inches of clearance . . . . In addition, no insulation materials have
been shown which will further decrease access space.” AR 40286.

        As defendant states, Mr. Codega and O-Tech fail to address to the concerns that the
NPET raised regarding access to the sides of the engine. Def.’s Br. (O-Tech) filed Sept. 22,
2006, at 17. Instead, Mr. Codega discusses the advantage of having access to the engine
room spaces from two hatches, and then justifies the design by stating that “all components
that are realistically repairable while underway” were accessible. Codega Decl. ¶6d). Mr.
Codega also mentions the advantages that he sees in the cameraman hull design proposed by
O-Tech. Id.

       The requirement of section 071-1.1 of the Phase II Solicitation stipulates “safe and
convenient access to all craft spaces, and for safe and convenient serviceability,
maintainability and operability of all controls, systems, machinery and components.” AR
00878. The requirement does not state that the design need only provide access to “all
components that are realistically repairable while underway.” Codega Decl. ¶6d). The
NPET evaluated this aspect of O-Tech’s design as deficient. O-Tech failed to argue, let
alone prove, why this finding was not reasonable.




       38/ The relevant provisions of the Phase II solicitation that address access to the sides
of the engine are sections 071-1.1, 071-1.4, and 071-1.9. See AR 00878-79.

                                              66
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 67 of 82



       O-Tech also argues that its FPR allows access to the sides of the engine through the
design’s large hatches, even when at sea. O-Tech’s Br. filed Aug. 25, 2006, at 20. While
these large hatches would allow crew members to raise the engines up onto the deck of the
boat and access the sides of the engine, the NPET found this solution to be undesirable
because crew members could not “perform damage control and equipment casualty response
within the engine room.” AR 40230 (emphasis added). The record shows that the NPET
considered O-Tech’s solutions to the engine access problem and found them unacceptable.
The court, therefore must defer to the USCG’s technical determination, as O-Tech has failed
to show that this determination was arbitrary and capricious.

                     3) Accessing the engine for routine maintenance

        O-Tech also contends that the USCG’s assignment of a deficiency for “difficulty
performing maintenance inport was erroneous. 39/ The NPET assigned O-Tech a deficiency
for the difficulty of performing various maintenance tasks inport. AR 40285. According to
the NPET’s RB-M evaluation notes, this deficiency was assigned because

       there are a number maintenance items that are considered routine Unit Level
       repair or maintenance tasks that are not accessible without removal of the
       engine or gear. These include changing the raw water pump impeller,
       changing zinc plugs, inspecting or changing the starter, solenoid, and
       associated wiring connection, various hoses and clamps, replacement of engine
       oil temperature & pressure sensors, and inspection or replacement of
       transmission coolers and lines.

AR 40287. O-Tech and Mr. Codega contend that O-Tech’s design met the requirements of
the Phase II Solicitation: “All routine service points on the engine, waterjets, and auxiliary
machinery are located where they can be readily reached [through] the provided hatches.”
Codega Decl. ¶ 7a). Moreover, Mr. Codega states that “suppliers have provided assurances
that almost any piece of bolt-on equipment can be relocated or remote mounted should other
issues be raised.” Id. “The large hatches over the engines will allow for extremely easy
access to the top of the engine.” Codega Decl. ¶ 7c). Mr. Codega’s declaration and O-Tech’s
arguments, nonetheless, fail to show how the proposed design allowed the USCG to perform
the tasks that the NPET identified as problematic. The NPET throughly addressed the
problem with removing an engine to perform maintenance tasks. AR 40287-88. Neither O-



      39/ The relevant provisions of the Phase II Solicitation that address performing
maintenance inport are Sections 071-1.1, 071-1.9, 088-1.12, 0881.1.13. See AR 00878-79,
AR 00888-89.

                                             67
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 68 of 82



Tech nor Mr. Codega responds to the NPET’s concerns. Mr. Codega’s evaluation is based
on O-Tech’s drawings submitted as part of its FPR. Codega Decl. ¶ 7a). From these
drawings Mr. Codega apparently concludes that the NPET erred. Yet, O-Tech and Mr.
Codega only assert that “the opposite is true.” Def.’s Br. (O-Tech) filed Sept. 22, 2006, at
19. This does not satisfy O-Tech’s burden of proof.

                      4) Accessing the engine room while underway

         O-Tech and Mr. Codega argue that access to O-Tech’s engine rooms is insufficient.
The USCG’s concern was that crew members on the RB-M would be required to jump into
the engine room, “twist and straddle the guard and then kneel down [into the engine space]
all at the same time.” AR 40289. 40/ While O-Tech argues that it could include a ladder in
its design to solve the problem, O-Tech did not include a ladder in its design; therefore, the
NPET had to evaluate the proposal as it stood, without benefit of the ladder. Although this
problem alone probably would not have earned O-Tech a deficiency for engine access, the
NPET’s evaluation notes memorialize that the combination of problems with O-Tech’s
engine room led to the USCG assigning O-Tech a deficiency in this area.

                      5) Marinette’s engine access

        O-Tech contends that Marinette had the same shortcomings in its design as discussed
above, yet only O-Tech was faulted. O-Tech supports this allegation with Dr. Barr, who
found that Marinette’s Phase II design has limited engine access. Barr Decl. ¶ 43. Because
Dr. Barr cites only Marinette’s FPR design drawings, id. ¶¶ 44-46, Dr. Barr and O-Tech fail
to allege anything more than a differing opinion on Marinette’s engine room access. Dr. Barr
argues that access into Marinette’s engine space will be “difficult;” that only the inboard
sides of Marinette’s engine design are accessible; and that the available access to the hull will
not be possible if there is catastrophic damage to the hull. Barr Decl. ¶¶ 44-46.

     Jeffrey Curtis, defendant’s expert and Technical Manager to the RB-M Project for the
USCG successfully refutes each of Dr. Barr’s allegations:

       [Marinette’s] proposed arrangement provides the crew full access to both sides
       of both engines . . . . [Marinette] has clearly provided both narrative and
       supporting figures that show access to all areas of the engine room and engine
       in accordance with the RFP requirements . . . [Marinette] has clearly shown in



      40/ The NPET found that O-Tech’s design failed to meet the requirements of sections
071-1.8, 088-1.1.6, 088-1.1.8, 088-1.1.12, and 088-1.1.13 of the Phase II Solicitation.

                                               68
      Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 69 of 82



       their FPR that all areas of the engine room are accessible and the crew will
       have access for damage repair.”

Decl. of Jeffrey Curtis, Sept. 21, 2006, ¶¶ 48-50 (citing AR 20816; AR 20117-123; AR
20814-17).

       O-Tech’s contention that Marinette suffered from the same problems as O-Tech’s
design rings hollow. The NPET properly evaluated both Marinette’s and O-Tech’s FPRs and
concluded that Marinette satisfied the requirements of the Phase II Solicitation and that O-
Tech’s design did not. It is not the role of this court to overturn such technical
determinations without the plaintiffs meeting their “high burden of proof.” See, e,g, Galen
Medical, 369 F.3d at 1329 (Fed. Cir. 2004).

              7. USCG’s best value determination

      Plaintiffs contend that the USCG erred in its best value determination because the
USCG determined that Marinette, the highest priced offeror, represented the best value to the
Government. O-Tech also challenges the best value determination because the USCG acted
unreasonably in excluding O-Tech and coerced O-Tech to abandon its Price Evaluation
Adjustment (“PEA”) for Small Disadvantaged Businesses.

                     1) USCG’s determination that Marinette’s offer was fair and reasonable

       According to O-Tech, the SSA’s determination that Marinette’s price was fair and
reasonable was irrational because Marinette’s price was “unbalanced and could not be found
fair and reasonable.” O-Tech’s Br. filed Aug. 25, 2006, at 24. 41/ O-Tech charges: “The
Source Selection Decision ignores fiscal reality and recharacterizes its previous unbalanced
finding as intentional underbidding of the B-3 boats.” Id.

       Federal law requires that agencies “obtain full and open competition through the use
of competitive procedures in accordance with the requirements of this title and the Federal
Acquisition Regulations (FAR).” 41 U.S.C. § 253(a)(1)(A); see FAR 6.101 (providing that
“contracting officers shall promote and provide for full and open competition in soliciting



       41/ Textron asserts that the USCG made a unreasonable best value determination
because (1) “[the] USCG incorrectly and unreasonably evaluated Marinette as being higher
technically rated than Textron;” and (2) the “USCG’s evaluation of Marinette’s price was
premised on the pricing assistance that Marinette improperly received from EDO.” Textron’s
Br. (Def.) filed Aug. 22, 2006, at 22-23. The court previously addressed these issues.

                                             69
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 70 of 82



offers and awarding Government contracts”); see also 41 U.S.C. § 253b(a) (“An executive
agency shall evaluate sealed bids and competitive proposals, and award a contract based
solely on the factors specified in the solicitation.”); FAR 15.303(b)(4) (providing similar
language). This procurement utilized best-value-determination strategy where the USCG
considered price and other technical factors using “the tradeoff process.” AR 00999. In this
case the SSA is responsible for ensuring that the Government obtain a price that is both “fair
and reasonable.” FAR 15.404-1(a)(1); see also FAR 15.402 (“Contract officers must–(a)
Purchase supplies and services from responsible sources at fair and reasonable prices.”);
FAR 15.406-3(a)(11) (providing that contracting officer must document fair and reasonable
pricing). This process “permits tradeoffs among cost or price and non-price and non-cost
factors and allows the Government to accept other than the lowest priced proposal.” FAR
15.101-1(c).

       Section M.6 of the Phase II Solicitation directed the PET to evaluate the offered price
proposals for completeness, price reasonableness, cost realism, and unbalanced pricing. AR
00656.

       Unbalanced pricing exists when, despite an acceptable total evaluated price,
       the price of one or more contract line items is significantly overstated or
       understated and poses an unacceptable risk to the Government. The
       Government may determine that a proposal is unacceptable if the prices
       proposed are materially unbalanced between line items or sub-line items. 42/

AR 00593 (emphasis added).

       The RB-M contract contemplates the purchase of up to 180 RB-Ms over a base
contract period of eight years. AR 00586. The solicitation instructed offerors to provide
pricing considering two variables in the USCG’s purchase plan. AR 00992-96. First, the
USCG would decide during the life of the contract the exact number of RB-Ms that it would



       42/ This section of the solicitation echoes the language of FAR 15.404-1(g),
providing, in pertinent part:

              Unbalanced pricing may increase performance risk and could result in
       payment of unreasonably high prices. Unbalanced pricing exists when, despite
       an acceptable total evaluated price, the price of one or more contract line items
       is significantly over or understated as indicated by the application of cost or
       price analysis techniques.
Id.

                                              70
      Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 71 of 82



purchase. Second, “the periods when the boats were manufactured could vary, depending on
when the [USCG] placed orders for the boats.” Def’s Br. (O-Tech) filed Sept. 22, 2006 at
25; see AR 00684.

        In the PET’s October 20, 2005 report to the RB-M SEB, the PET found that
Marinette’s offered unit prices constituted unbalanced pricing. AR 71809. To analyze this
factor, the USCG charted the unit prices offered by Marinette, Textron, and O-Tech. When
it found unbalanced pricing in Marinette’s price proposal, the PET relied on Table 6,
reproduced below, to illustrate the issue:

[




                                                                                            ]

The shaded cells represent the “anticipated ordering quantities,” or the USCG’s “most likely”
schedule. AR 71809; Def.’s Br. (O-Tech) filed Sept. 22, 2006, at 25. Marinette’s pricing
proposal, as depicted above, was unbalanced because

       [a]t first glance, one would notice that the unit price of each []shaded cell is
       lower than the unit price in the cell immediately above the []shaded cell. This
       downward trend would be normal and reasonable except that in almost all
       cases, the unit price in the cell immediately below the []shaded cell in each
       column is substantially higher than the unit price of the []shaded cell . . . . In
       the simplest terms, if the [USCG’s] actual ordering quantities varies at all, the
       [USCG] will be paying a substantially higher unit price for all ordered boats.

AR 71809-10 (emphasis added). Upon this finding, the USCG notified Marinette that it must
resolve the USCG’s concerns with unbalanced pricing and price reasonableness to remain
eligible for award. Def.’s Counter-Stmt. of Facts (O-Tech) filed Sept. 22, 2006, ¶ 50.




                                              71
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 72 of 82



       On June 13, 2006, the PET submitted its Report to the RB-M SEB, finding that all
three price proposals were complete, reasonable, and balanced, assigning the three proposals
“low risk” in the cost realism category. AR 40423. In its analysis of unbalanced pricing for
Marinette, the PET submitted the following chart:

[




                                                                                              ]

AR 40430. Unlike its previous analysis, the NPET found that the price differences were not
significant:

                While there is a significant decrease in the unit price from the unit price
       above the []shaded cell in each column, and although there is an increase in
       price from the []shaded cell to the unit price immediately below the []shaded
       cell, it is not a significant price increase. Therefore, [Marinette’s] prices do
       not constitute unbalance pricing.

AR 40430. A review of Table 7 as compared to Table 6 shows that the earlier phenomenon,
which the USCG identified as problematic, was resolved.

        O-Tech does not address the specific pricing issue that the USCG identified in its
initial evaluation of Marinette’s Phase II price proposal. Instead, O-Tech argues that
Marinette’s price was unbalanced because the price increased horizontally in each pricing
period (each pricing period is designated “P1", “P2" etc. in Table 6 and 7 above). The price
difference that O-Tech points out (the horizontal price increase) manifested itself in all three
offerors’ price proposals. AR 40430. Each was found to have balanced pricing. AR 40430-
31. Defendant characterizes the horizontal price increase as “unsurprising” because “any
variation from the ‘most likely’ schedule risked an increase in the contractor’s costs because

                                               72
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 73 of 82



of disruption.” Def.’s Br. (O-Tech) filed Sept. 22, 2006, at 27; see also AR 71992 (discussing
ways in which interruption in ordering schedule would impact Marinette’s pricing schedule).

       O-Tech also condemns “as without rational basis” the USCG’s rationale for accepting
Marinette’s FPR price proposal as fair and reasonable. O-Tech’s Br. filed Aug 25, 2006, at
27. Yet, O-Tech merely asserts, without support, that Marinette’s proposal was “overpriced”
and that the USCG’s “conclusion that Marinette’s minor drop in its price . . . [was] entirely
at odds with its earlier conclusion.” O-Tech’s Br. filed Aug. 25, 2006, at 27.

       The RB-M contract is a competitive firm-fixed contract. Accordingly, FAR 15.404-
1(a)(2) provides that price analysis shall be used to ensure that the final agreed-to price is fair
and reasonable. Decl. of L. Scott Palmer, Sept. 14, 2006, ¶ 8; see also FAR 15.404-1(a)
(“The objective of proposal analysis is to ensure that the final agreed-to price is fair and
reasonable.”); FAR 15.404-1(b)(2)-(3) (providing that comparison of proposed prices and
comparison of previously proposed prices are two preferred methods of price analysis). The
PET concluded that Marinette’s price was reasonable because adequate competition was
present. AR 40423. 43/ After the FPRs were submitted and the SEB submitted its
evaluations, the SSA determined that Marinette’s price proposal was found to be fair and
reasonable. AR 40441-42. The SSA stated explicitly in its decision letter that it was the
technical superiority of Marinette’s design that earned it the contract:

               [Marinette’s] total evaluated price is $410,603,103 and was found to be
       reasonable with low risk for cost realism. Given the maturity of the design and
       the expectation that few/minor changes are to be made after two phases of
       procurement, I have high confidence that [Marinette’s] total evaluated price
       reflects the price the [USCG] will ultimately pay . . . .

             The technical superiority and low technical risk of [Marinette’s]
       proposed RB-M is clearly worth the 12% price difference of $43M.



       43/ As O-Tech correctly states, Marinette’s price was greater than the revised
government cost estimate. AR 40425. Defendant contends that “there are sound reasons
why the Government’s cost estimate may not be very useful for evaluating the offerors’
prices.” Def.’s Br. (O-Tech) filed Sept. 22, 2006, at 24; see also Palmer Decl. ¶9 (“The
Government estimate, developed long before proposals were received, is an internal planning
document.      Offers that exceed government estimates are commonplace and not
unreasonable.”). Regardless of the difference between the government estimate and
Marinette’s price, plaintiffs have failed to prove how the price difference necessarily should
lead to finding that the NPET’s conclusions were irrational.

                                                73
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 74 of 82



AR 40442. In E.W. Bliss Co., 77 F.3d at 449, the Federal Circuit stated that “[p]rocurement
officials have substantial discretion to determine which proposal represents the best value
for the government.” (citing Lockheed Missiles & Space Co., v. Bentsen, 4 F.3d 955, 958
(Fed. Cir. 1993), and Widnall v. B3H, 75 F.3d 1577 (Fed. Cir. 1996) (holding that the
General Services Board of Contract Appeals should defer to agency’s determination even if
it would have chosen different proposal)). The court finds that the USCG’s decision was
grounded in reason based on the technical and price evaluations at its disposal. O-Tech has
failed to show that the SSA or the USCG abused their discretion by acting arbitrarily and
capriciously in finding that Marinette’s price was both fair and reasonable.

                     2) Failure to consider O-Tech’s price

        O-Tech argues that the SSA failed to consider O-Tech’s lower price when the SSA
made its best value determination, thereby rendering the USCG’s decision to award the RB-
M contract to Marinette irrational. This argument lacks merit. First, the SEB fully evaluated
both O-Tech’s non-price and price FPRs. See AR 40113-40122, AR 40201-320, AR 40422-
40. In its decision letter, the SSA fully considered O-Tech’s technical proposal and
concluded its evaluation of O-Tech by stating, “Any purported cost saving of a technically
unacceptable offer need not be considered in determining best value. [O-Tech’s] lower price
does not outweigh its failure to meet technical requirements and the technical risk associated
with its proposal.” AR 40441. The SSA was fully aware of O-Tech’s lower price, but
concluded that it could not outweigh the technical deficiencies in O-Tech’s proposal. Given
that the court has not found any of the USCG’s technical findings arbitrary and capricious,
this determination falls within the SSA’s zone of discretion. See, e.g., E.W. Bliss, 77 F.3d
at 445.

       Second, as defendant states, “it is perfectly appropriate for an agency to refuse to
further consider an offer once it has concluded that the offer is technically unacceptable.”
Def.’s Br. (O-Tech) filed Sept. 22, 2006, at 23-24; see In re The Austin Co., B-291482 2003
CPD ¶ 41; Randtron Syst., B-237354, 90-1 CPD ¶ 277. O-Tech’s proposal was the lowest
rated of all three RB-M designs with “high” risk ratings in three of the four technical
categories and one “disqualifying” rating and one “yellow” rating in four of the technical
categories. AR 40117-18. A determination that its design was technically unacceptable is
perfectly rational. O-Tech has failed to give the court any reason to question the SSA’s
determination, and therefore the court will defer to its conclusion.

                     3) Price evaluation adjustment

      O-Tech contends that the USCG “coerced” O-Tech to waive the benefit of the PEA
for Small Disadvantaged Businesses as provided by FAR 52.219-23 and incorporated by

                                             74
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 75 of 82



reference in section M.6.4 of the Phase II Solicitation. AR 01001; O-Tech’s Br. filed Aug.
25, 2006, at 28. Following an informal e-mail exchange, on June 1, 2006, the Contracting
Officer, L. Scott Palmer, wrote to Esteban Fernandez, President of O-Tech, advising Mr.
Fernandez that he had determined that O-Tech was ineligible for the PEA. In the letter, Mr.
Palmer gave O-Tech until June 7, 2006, to “provide a detailed explanation based on the price
proposal submitted” or a “formal notice” that O-Tech waived the adjustment. AR 60023.
O-Tech contends that “[f]earing it might otherwise be excluded from further competition, O-
Tech waived the PEA on June 7.” O-Tech’s Br. filed Aug. 25, 2006, at 28; see also AR
60024. Included with the waiver was a second letter explaining O-Tech’s interpretation of
why it believed it met the PEA requirement. AR 60025. 44/

       According to a transcript of O-Tech’s Post-Award Debriefing, once O-Tech waived
the PEA, the USCG took no further action. AR 90381. O-Tech maintains that, “[g]iven the
short deadline and threat of non-responsibility, O-Tech had little choice in the matter [to
waive the PEA].” O-Tech’s Br. (Def.) filed Oct. 10, 2006, at 25.

        In Rumsfeld v. Freedom NY, Inc., 329 F.3d 1320 (Fed. Cir. 2003), the Federal Circuit
reiterated its position that “in the procurement context proof of coercion requires proof of
wrongful action by the government.” Id. at 1330. The Rumsfeld court went on to summarize
the standard: “[C]oercion requires a showing that the government’s action was wrongful–i.e.
that it was (1) illegal, (2) a breach of an express provision of the contract without a good-
faith belief that the action was permissible under the contract, or (3) a breach of the implied
covenant of good faith and fair dealing.” Id. at 1331.

        The record does not support O-Tech’s position. It is the Small Business
Administration (the “SBA”) that is responsible for determining whether O-Tech qualified for
the PEA, not the contracting officer. FAR 19.601(d); FAR 19.3; see In re Liberty Power
Corp. B-295502, 2005 WL 696284 at *5. Although it was not stated in the June 1, 2006
letter to Mr. Fernadez, Mr. Palmer previously had informed O-Tech that he would forward
the issue to the SBA if O-Tech disputed the USCG’s findings. Palmer Decl., Ex. A. In an
e-mail dated May 25, 2006, from Scott Palmer to Esteban Fernadez of O-Tech, Mr. Palmer
stated, “Absent a satisfactory explanation or waiving the PEA, I will need to forward this
matter to the Small Business Administration.” Id. There was absolutely no evidence that the
USCG engaged in any wrongful conduct. Once O-Tech chose to waive the PEA, O-Tech has




        44/ O-Tech spends a considerable portion of its briefs arguing why its interpretation
of the PEA was correct; however, this is irrelevant to the argument that O-Tech was coerced
into providing the USCG with the waiver.

                                              75
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 76 of 82



failed to prove that the USCG was under any obligation to continue to investigate O-Tech’s
position.

III. Prejudice as an overarching finding: Standing v. substantive prejudice

        Assuming that an applicable procurement regulation had been violated, analysis would
next turn to whether the violation was prejudicial. See Bannum, 404 F.3d at 1351. The
Federal Circuit originally restricted a showing of substantive prejudice to the requirement of
showing a clear and prejudicial violation of a procurement statute or regulation. See CACI
Field Services, Inc. v. United States, 854 F.2d 464 (Fed. Cir. 1988). That decision quoted
the standard for recovery of procurement costs in Keco Indus., Inc. v. United States, 492 F.2d
1200, 1203 (Ct. Cl. 1974): “[I]f one thing is plain in this area it is that not every irregularity,
no matter how small or immaterial, gives rise to the right to be compensated for the expense
of undertaking the bidding process.” 854 F.2d at 466 (parentheses omitted).

        The term “prejudice” in the context of bid protests, has been confused in defining both
standing and prejudice on the merits with the requirement that the protestor must show “some
significant error in the procurement process, but also that there was a substantial chance it
would have received the contract award.” Statistica, Inc. v. Christopher, 102 F.3d 1577,
1581 (Fed. Cir. 1996); see also Alfa Laval, 175 F.3d at 1367 (citing Statistica, 102 F.3d at
1581 and Data Gen., 78 F.3d at 1562). This formulation conflates the relative importance
of the procurement error with the standing requirement set forth as early as 1983 in CACI,
Inc.-Fed. v. United States, 719 F.2d 1567, 1574-75 (Fed. Cir. 1983). CACI-Fed had
endorsed a substantial chance standard equated to being “within the zone of active
consideration.” See id. (internal quotations omitted). Statistica defined “competitive
prejudice” as a substantial chance of winning an award. 102 F.3d at 1581. Statistica was
superseded in 2001 when the Federal Circuit in American Federation of Government
Employees v. United States, 258 F.3d 1294, 1302 (Fed. Cir. 2001) (“AFGE”), adopted the
standing requirement of the Competition in Contracting Act, 31 U.S.C. § 3551 enacted in
1984, to delineate the standing requirement to sue “as an interested party,” for injunctive
relief under the 1996 ADRA. The holding from an opinion, self-described as dealing with
“standing,” deserves extended quotation:

              The term Congress did choose to define standing under § 1491(b),
       “interested party,” is a term that is used in another statute that applies to
       government contract disputes, the CICA. As set forth above, the CICA
       explicitly defines that terms as “an actual or prospective bidder or offeror
       whose direct economic interest would be affected by the award of the contract
       or by failure to award the contract.” 31 U.S.C. § 3551(2). Section 3551, by
       its own terms, applies only to contract disputes decided by the Comptroller

                                                76
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 77 of 82



       General of the GAO pursuant to 31 U.S.C. §§ 3551-56. However, the fact that
       Congress used the same term in § 1491(b) as it did in the CICA suggests that
       Congress intended the same standing requirements that apply to protests
       brought under the CICA to apply to actions brought under § 1491(b)(1). We
       therefore construe the term “interested party” in § 1491(b)(1) in accordance
       with the CICA, an hold that standing under § 1491(b)(1) is limited to actual or
       prospective bidders or offerors whose direct economic interest would be
       affected by the award of the contract or by failure to award the contract. This
       construction is consistent with the legislative history of § 1491(b)(1), which,
       as discussed above, indicates that Congress intended to extend the jurisdiction
       of the Court of Federal Claims to include post-award bid protest cases brought
       under the APA by disappointed bidders, such as the plaintiff in [Scanwell v.
       United States, 424 F.2d 859 (D.C. Cir. 1970)].

258 F.3d at 1302. 45/ AFGE post-dated CACI-Fed, which itself addressed standing, not the
characterization of record support for a finding of substantive prejudice by a clear and
prejudicial violation of an applicable procurement regulation. However, Bannum conflates
the two. See Bannum, 404 F.3d at 1358 (“To establish prejudice Bannum was required to
show that there was a ‘substantial’ chance that it would have received the award but for the
. . . errors in the bid process.”). Moreover, Bannum introduces a prejudice requirement into
the arbitrary and capricious standard where it formerly reposed in the standard of clear and
prejudicial violation of an applicable procurement regulation standard, so that, theoretically,
a protestor can demonstrate substantive prejudice if it meets all of the procurement criteria.

        Judge Braden has made a diligent effort to rationalize these melded concepts in
Information Sciences Corp. v. United States, No. 05-1342C, 2006 WL 2686753, slip op. at
37 (Fed. Cl. Sept. 19, 2006), concluding that a harmless error standard has been adopted. Id.
at 77. 46/ The Federal Circuit only adopted a de minimis test that formerly was applicable


       45/ Myers Investigative and Sec. Services, Inc. v. United States, 275 F.3d 1366 (Fed.
Cir. 2002), purports to follow AFGE, concluding the substantial chance rule continues to
apply for standing. 275 F.3d at 1370.

        46/ Information Sciences cites Metcalf Construction Co. v. United States, 53 Fed.
Cl. 617, 622 (2002), for the unsupported proposition that “‘minor errors or irregularities, i.e.,
harmless errors, committed in the course of the procurement process are not sufficient
grounds to warrant judicial intrusion to upset a procurement decision.’” (emphasis added in
Information Sciences, No. 05-1342C, 2006 WL 2686753, slip op. at 37). Metcalf relies on
Bannum and cites Day & Zimmerman Services v. United States, 28 Fed. Cl. 591, 597 (1997),
which, in turn, cites Data General. The decisions of the Court of Federal Claims do not
reflect a legal proposition unless they rest on binding precedent, which Data General is, but
not for any such holding. Data General does not adopt a harmless error standard. 78 F.3d

                                               77
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 78 of 82



to bid protests filed in the Court of Federal Claims under the repealed Brooks Act. As this
court explained in its Alfa Laval opinion,

       Defendant has urged the court to reject plaintiff’s protest by means of adopting
       a de minimis standard. Even if the court were to view failure to comply with
       a mandatory requirement de minimis, it could not employ such a standard
       because the Federal Circuit has never adopted such an approach for the Tucker
       Act, 28 U.S.C. § 1491(a)(1) (1993). See, e.g., Grumman Data Sys. Corp. v.
       Dalton, 88 F.3d 990 (Fed. Cir. 1996) (applying de minimis rule under the
       Brooks Act, 40 U.S.C. § 759(f)(5)(B), which allowed the agency board
       discretion in deciding if violation of mandatory requirement merited relief);
       Andersen Consulting v. United States, 959 F.2d 929 (Fed. Cir. 1992) (same).

Alfa Laval, 40 Fed. Cl. 215, at 234 n.23.

       The facts of Alfa Laval illustrate the quandary in which the trial court and litigators
find themselves. A mandatory boilerplate (non-customized) procurement regulation was
violated. The violation had no practical effect, as the key defense witness testified, because
certain data that it mandated were not material to the vibration testing of the purifier under
procurement. The request for the tests, however, was part of a military standard that had
been used to draft the request for proposals. See 40 Fed. Cl. at 229-30.

         In the circumstances detailed in the trial court’s opinion, the error was de minimis,
minor, harmless—any fashion that one might describe a technical error of no practical
import. However, the court was constrained by Data General, the governing panel opinion
at the time, to address substantive prejudice in terms of “a reasonable likelihood” of winning
the contract award. Alfa Laval, 40 Fed. Cl. at 234 (citing Data Gen., 78 F.3d at 1563 ). Data
General had approved the use of price differential in determining the presence of substantive
prejudice. See Data General, 78 F.3d at 1563. The price discrepancy between the putative
awardee and the protestor in Alfa Laval was “colossal.” Alfa Laval, 40 Fed. Cl. at 234.
Therefore, this court found that the protestor was not prejudiced by the technical procurement
error.




       46/ (Cont’d from page 77.)

at 1562 (“We think that the appropriate standard is that, to establish prejudice, a protester
must show that, had it not been for the alleged error in the procurement process, there was
a reasonable likelihood that the protester would have been awarded the contract.”).

                                             78
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 79 of 82



       The continued viability of the last United States producer of this purifier expired on
appeal when the Federal Circuit allowed that

       while price differential may be taken into account, it is not solely dispositive;
       we must consider all the surrounding circumstances in determining whether
       there was a substantial chance that a protester would have received an award
       but for a significant error in the procurement process. In issuing the RFP here,
       the government sought proposals that met certain requirements. Alfa Laval,
       an irrefutable competent supplier, submitted the only bid meeting all of the
       government’s requirements, at a lower per-unit price that it had charged for the
       same purifiers in two recent procurements; it must have had a substantial
       chance to receive the contract award.

175 F.3d at 1368. The denouement is arcing the circle back to one of the formulations of
standing: The protestor had a fully compliant technical proposal.

       Respectfully, this court suggests that any prejudicial error in the procurement process
sufficient to upset an award must be significant 47/ to the overall decision to award the
contract to the apparent awardee. When the court finds a violation of an applicable
procurement regulation, the court should determine as a factual matter that the protestor has
been prejudiced. This court proposes that the prejudice analysis should not focus on whether
the protestor had a “substantial chance” of receiving the award because it had a fully
compliant proposal, but, rather, whether the procurement violation was significant to the
protestor’s chance of being awarded the contract. This prejudice analysis, however, should
be reached only when the protestor has shown violation of an applicable procurement
regulation. If the court finds that the Government has acted arbitrarily and capriciously, the
analysis stops at that finding. There should be no need to continue to prejudice, because a
finding that the Government has acted arbitrarily and capriciously necessarily invalidates the
procurement, and the court must enjoin the procurement award or enjoin performance under
an award already made, and the court also may enjoin award to any proposer than the
protestor.




       47/ Realizing that Data General’s formulation of an “allegedly significant error” was
included in Statistica’s rejection of Data General’s “reasonable likelihood” standard, 102
F.3d at 1582, this court suggests that the Data General description of an error as ‘significant”
is helpful from a trial court’s perspective.

                                              79
      Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 80 of 82



       A. Prejudice to plaintiffs

        In the instant case, the court need not reach the question of prejudice. Of the many
numerous technical challenges raised by plaintiffs, the record does not contain sufficient
support for the court to find that the USCG has acted arbitrarily or capriciously. Moreover,
plaintiffs have failed to show prejudicial violation of an applicable procurement
regulation. 48/

        Assuming, however, that the USCG irrationally failed to remove a “weakness” from
Marinette’s Mission Effectiveness rating for range, or that Marinette should have received
a “red” rating, the result would not resolve which offeror should be the putative awardee.
O-Tech could not qualify as an awardee, as it still held a valid “red” rating for range.
Textron would qualify, but the court would have the option either to prevent the award to any
proposer other than Textron or to declare the procurement invalid and leave the USCG to
reassess the matter — without judicial supervision, of course. Under the second option, the
USCG could conduct a new Phase II Solicitation. Under the first option, the court has
determined that it would not enjoin an award to any proposer other than Textron. The rather
singular circumstances of these protests have required a full record review of every action
taken under the procurement evaluation criteria. The court has read the technical evaluation
of the RFP. Marinette, overall, offered the best boat. The USCG would have been buying
Textron’s promises to build a boat according to the Phase II Solicitation. In these
circumstances, the court would not have exercised its discretion to give the USCG no option
other than Textron. See Scanwell Laboratories, Inc. v. Shaffer, 424 F.2d 859, 864 (D.C. Cir.
1970) (responding that “there is no right in [a disappointed bidder] to have the contract
awarded to it in the event the [] court finds illegality in the award of the contract”).

       B. Plaintiffs do not succeed on the merits

      Plaintiffs fail to meet their burden of proof regarding success on the merits because
none of the USCG’s actions have prejudiced plaintiffs. See 5 U.S.C. § 706(2)(A).
Therefore, plaintiffs fail this prong of the injunction test. See PGBA, LLC, 389 F.3d at
1228-29.




      48/ The omission of any other procurement challenges in this lengthy opinion is not
an oversight. Each was considered, if not discussed.

                                             80
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 81 of 82



IV. Other factors necessary for injunctive relief

       While success on the merits is the most important factor, “[n]o one factor, taken
individually, is necessarily dispositive.” FMC, 3 F.3d at 424. “[T]he absence of an adequate
showing with regard to any one factor may be sufficient, given the weight or lack of it
assigned the other factors, to justify the denial.” Chrysler, 908 F.2d at 953. Besides (1)
success on the merits, injunctive relief requires a plaintiff to demonstrate that (2) it will
suffer irreparable harm if injunctive relief is not granted; (3) the harm to plaintiff if an
injunction is not granted outweighs the harm to the Government if an injunction is granted;
and (4) the injunction is not against the public interest. PGBA, 389 F.3d at 1228-29; FMC,
3 F.3d at 427.

        Plaintiffs have shown irreparable harm. “An action at law only allows recovery of
‘bid preparation costs in a suit for damages, but not loss of anticipated profits,’ leaving a bid
protestor irreparably harmed.” Bannum, 60 Fed. Cl. at 730 (quoting Essex Electro Eng’rs,
Inc. v. United States, 3 Cl. Ct. 277, 298 (1983), aff’d, 757 F.2d 247 (Fed. Cir. 1985)). The
financial harm to plaintiffs is displaced by the harm to the USCG and Marinette because of
plaintiffs’ failure on the merits and the significant expenses that the USCG would be forced
to pay if a permanent injunction were to be issued. The court denied a preliminary injunction
during these proceedings and the USCG has gone forward with the Marinette RB-M contract.
Order entered July 20, 2006, ¶ 1. As of October 16, 2006, the USCG has paid over [
        ] to Marinette for work performed on the RB-M contract. Decl. of L. Scott Palmer,
Oct. 16, 2006, ¶ 6. 49/ If the court were to enter a permanent injunction, the USCG would
be responsible for termination costs, as well as costs incurred by Marinette, but not yet paid.
Id. The USCG would also be forced to re-evaluate the Phase II Solicitations or procure
“Textron’s substantially-less-capable boats.” Def.’s Br. (Textron) filed Oct. 16, 2006, at 28
n.22. Therefore, the court finds that the financial harm to plaintiffs is not as strong as the
harm to the USCG and Marinette.

       Finally, the court must consider whether an injunction would be in the public’s
interest. In making this determination the court must consider matters of national defense
and national security in providing relief. 28 U.S.C. § 1491(b)(3) (“[T]he court[] shall give
due regard to the interests of national defense and national security and the need for



       49/ In the court’s September 19, 2006, order, which granted defendant’s motion for
an enlargement of time to file its cross-motion and opposition, the court granted plaintiffs’
request to not consider this extension period when evaluating prejudice. See Order entered
Sept. 19, 2006, ¶ 3. The court has not considered this time period when assessing prejudice
to the Government.

                                               81
       Case 1:06-cv-00517-CCM Document 128 Filed 11/17/06 Page 82 of 82



expeditious resolution of the action.”) The Federal Circuit had occasion to consider the
meaning of 28 U.S.C. §1491(b)(3) in PGBA, 389 F.3d 1219, concluding that “section
1491(b)(3) merely instructs courts to give due regard to the issue of national defense and
national security in shaping relief.” Id.

        Plaintiffs have not proven that the injunction is in the public interest. The USCG
made a rational decision that complied with all applicable regulations and selected Marinette
as the contractor that, under the stated criteria set forth in the Phase II Solicitation, would
benefit the Government and the public. Moreover, defendant has shown that the ability of
the USCG to respond to emergency missions is being hampered by the continued delay of
this procurement; the fleet of boats the RB-Ms will replace is aging, and they are being used
beyond their “natural operating life.” Tr. at 205. Thus, they are less reliable and need
frequent repairs, resulting in fewer boats available for the USCG. See id.

                                      CONCLUSION

      Based on the foregoing, defendant's and Marinette’s cross-motions for judgment on
the administrative record are granted, and plaintiffs’ cross-motions for judgment on the
administrative record are denied. Accordingly,

       1. The Clerk of the Court shall enter judgment for defendant and Marinette.

       2. By November 15, 2006, the parties shall identify by brackets any material subject
to redaction before the opinion issues for publication.

       IT IS SO ORDERED.




                                                    s/ Christine O.C. Miller
                                                   Christine Odell Cook Miller
                                                   Judge




                                              82
